      Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 1 of 52 Page ID #:426



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10     UNITED STATES OF AMERICA
11
                                  United    STATES DISTRICT COURT
12
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                           EASTERN DIVISION
14
15
       UNITED STATES OF AMERICA,                   No. 5:18-CV-01005-JBG-KKx
16
                    Plaintiff,                     Hon. Jesus G. Bernal
17                                                 Riverside, Courtroom 1
                           v.
18
   CALIFORNIA STEM CELL                            DECLARATION OF LARISSA
19 TREATMENT CENTER, INC.,                         LAPTEVA, M.D.
       eta!.
20
                    Defendants.
21
                                                   Hearing Date:    August 5, 2019
22                                                 Trial Date:      October 1, 2019

23 I + - - - - - - - - - - - - ~ - - - ' - - '
24
               I, Larissa Lapteva, hereby declare as follows:
25
26             1.   I am the Associate Director in the Division of Clinical Evaluation and
27      Pharmacology/Toxicology (DCEPT) in the Office of Tissues and Advanced Therapies
28       (OTAT) in the Center for Biologics Evaluation and Research (CBER), at the United
                                                   1
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 2 of 52 Page ID #:427




 1      States Food and Drug Administration (FDA). I received my medical degree (M.D.)
 2      from Moscow Medical Academy in 1997, my Master of Health Sciences (M.H.S.)
 3      degree from Duke University in 2006, and my Master of Business Administration
 4      (M.B.A.) degree from the University of Maryland in 2015. I am licensed to practice
 5      medicine in the State of Maryland and board-certified in Internal Medicine and
 6      Rheumatology (subsequently re-certified in Rheumatology). In addition to my current
 7      work at FDA, I serve as an attending physician/affiliated faculty at the National
 8     IInstitute of Arthritis, Musculoskeletal, and Skin Diseases (NIAMS) at the National
 9      Institutes ofHealth.(NIH) where I provide clinical care to patients and teach
10      rheumatology fellows and resident-physicians in training.
11            2.   I have been employed by FDA since 2006. Since January 2017, I have
12      served in my current position as the Associate Director ofDCEPT, OTAT in CBER. In
13     this role, I advise the Division Director ofDCEPT and Office Director of OTAT and
14      serve as a spokesperson for the Division and Office on medical and scientific aspects of
15     various emerging, standing, complex, or precedent-setting regulatory and product-
16     related issues and policy matters. In my current capacity, I direct projects, studies, and
17      activities of concern to the Division and Office which often involve the coordinated
18     effort of other Office, Center, or Agency components. Such projects may involve
19      scientific or operational matters on cell, tissue, and gene therapies related policy,
20     resulting from public health needs.
21            3.   Prior to becoming the Associate Director in DCEPT/OTAT, I briefly served
22     as the acting Division Director in the Division of Human Tissues in the same Office
23     (OTAT) in the Center for Biologics Evaluation and Research. Prior to joining CBER in
24     2016, I worked in FDA's Center for Drug Evaluation and Research (CDER) between
25     2006 and 2016. During that period, I held various review and leadership positions
26     (medical officer, team leader, division deputy director for safety, division director)
27     which incorporated reviewing, recommending, and making decisions on development
28     and approval of novel drugs, generic drugs, and biological products across a wide
                                                    2
         Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 3 of 52 Page ID #:428




     1      range of therapeutic areas throughout all phases of product's lifecycle from early
 2          development to post-marketing. Between 2006 and 2011, I worked in the Office of
 3          New Drugs in CDER, first in the Division of Anesthesia, Analgesia, and
 4          Rheumatology Products (2006-2011 ), then in the Division of Pulmonary, Allergy, and
 5          Rheumatology Products (2011-2012), then in the Immediate Office of the Director in
 6          the Office of New Drugs coordinating activities across OND review divisions for
 7          applications with products aiming to treat rare diseases (2012-2014). In those roles, I
 8          reviewed and oversaw review activities related to numerous investigational new drug
 9          applications and new drug and biologic license applications (INDs, NDAs, and BLAs)
10          as well as complex post-marketing issues for products regulated by the divisions. In
11          2014, following the passage of the Generic Drug User Fee Act, I was asked to serve as
12          the Division Director in the Office or Research and Standards, Office of Generic Drugs
13          in CDER. In that role (2014-2016), I led reorganization of Science Staff team into the
14         Division of Therapeutic Performance (DTP), established the divisional infrastructure
15         for processing of regulatory submissions, and planned, managed, organized, and
16         directed all divisional activities, projects, and functions. I provided divisional level
17         scientific and regulatory review·and sign off on all controlled correspondence, pre-
18         Abbreviated New Drug Application (pre-ANDA) submissions, responses to Citizens'
19         Petitions, consults, product-specific bioequivalence guidances, thematic general
20         guidances, white papers, and scientific articles prepared by the divisional staff.
2I                4.   Prior to joining FDA, I conducted clinical research at the National Institute
22         of Dental and Craniofacial Research (NIDCR) and the National Institute of Arthritis,
23         Musculoskeletal, and Skin Diseases (NIAMS) at the National Institutes of Health
24         (NIH), providing clinical care to patients and leading clinical protocols including Phase
25         1-2 interventional studies in rheumatic conditions. In 2002, I completed Internal
26         Medicine residency at the Forest Park Hospital (aff. St. Louis University) and in 2004,
27         a Rheumatology fellowship at NIAMS, NIH.
28               5.    By virtue of my training and professional experience, I am familiar with the
                                                       3
         Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 4 of 52 Page ID #:429




     1      quantity and quality of evidence that is needed to establish the safety and effectiveness
 2          of drugs, the criteria for adequate and well-controlled clinical investigations, and also
 3          with the standards for evaluating whether a drug (or biological product) is "generally
 4          recognized ... as safe and effective" by qualified experts for its intended uses as set
 5          forth in the Federal Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C. § 321(p). I am
 6          also familiar with the definition of"drug" as set forth in FDCA, 21 U.S.C. § 321(g)(l),
 7          with the definition of "biological product" as set forth in the Public Health Service Act
 8          (PHSA), 42 U.S.C. § 262(i), and with the definition of "prescription drug," under
 9          FDCA, 21 U.S.C. § 353(b)(l), as well as with the standards for determining whether a
10          product is a prescription drug. Finally, I am familiar with the standard for evaluating
11          the adequacy of directions for use of a drug product.
12                6.   In preparing this declaration, I have conducted a thorough literature search
13          and reviewed the declarations ofKarlton Watson (Watson Deel.) and Carolyn Yong,
14          Ph.D. (Yong Deel.), as well as certain evidence collected by investigators during
15          FDA's inspections of the California Stem Cell Treatment Center (CSCTC), Inc. located
16          in Beverly Hills (BH) and Rancho Mirage (RM), California (see, infra, ,r 11 ).
17                7.   As discussed in greater detail in Section I below, I conducted a review of
18         whether a drug (and biological product) is generally recognized as safe and effective
19         (GRAS/E) within the meaning of the FDCA for the three produc ts manufactured and
20         marketed by CSCTC. These products, as further described in this declaration below,
21         are: (1) an autologous Stromal Vascular Fraction (SVF) product (hereinafter, ''the SVF
22         product"), (2) a culture-expanded SVF product [and/or adipose-derived stem cells-
23         ADSCs] (hereinafter, "the expanded SVF product"), and (3) an SVFNaccinia product
24         which combines the autologous SVF product with ACAM 2000 , Vaccinia Vaccine,
25         Live (hereinafter, "the SVFNaccinia product"). The results of the literature search
26         conducted to support this declaration and conclusions are provided in Attachment 1.
27                8.   Additionally, I evaluated whether these products are prescription drugs
28         within the meaning of the FDCA; this evaluation is provided in Section II of this
                                                       4
         Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 5 of 52 Page ID #:430



     1      declaration.
 2                9.   Finally,. I reviewed available limited information regarding the labeling of
 3          CSCTC products to evaluate the adequacy of the directions for use. My analysis is in
 4          Section III below.
 5
 6                                               Introduction
 7                10. I reviewed the following records collected by FDA investigators during the
 8          July 17 through July 26, 2017 and July 21 through July 27, 2017 inspections of
 9          California Stem Cell Treatment Center, Inc. (CSCTC): Establishment Inspection
10          Report ofCSCTC's Rancho Mirage location (Watson Deel. Attachment 1);
11          Establishment Inspection Report of CSCTC's Beverly Hills location (Watson Deel.
12          Attachment 2); CSCTC promotional brochure (Watson Deel. Attachment 3).
13          I also reviewed the following files that were downloaded from the internet: Cell
14          Surgical Network (CSN) - CSCTC website screenshot 8-29-17 (Watson Deel.
15          Attachment 7); and Paul Knoepfler Stem Cell Blog interviews with the Defendants
16          (Watson Deel. Attachments 57, 58, 65). I also reviewed the Complaint for Permanent
17          Injunction filed by the United States against CSCTC, CSN, Berman and Lander on
18          May 9, 2018.
19                11. That evidence shows that CSCTC, located in Beverly Hills and Rancho
20          Mirage, markets or has marketed the SVF product, the expanded SVF product, and the
21          SVFNaccinia product to treat various diseases and conditions, which include but are
22         not limited to: (a) for the autologous SVF product: arthritis, stroke, multiple sclerosis,
23         traumatic brain injury fibromyalgia, irritable bowel syndrome (IBS), optic
24         neuropathy, spinal cord injury, Parkinson's disease, amyotrophic lateral sclerosis,
25         chronic obstructive pulmonary disease; (b) for the expanded SVF product: Parkinson's
26         disease, stroke, multiple sclerosis, amyotrophic lateral sclerosis, anoxic brain injury
27         hypothyroidism, Alzheimer's disease, diabetes, and renal failure; (c) for the
28         SVF/V accinia product: different types of cancers, including advanced stage solid
                                                       5
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 6 of 52 Page ID #:431




 1      tumors (see Watson Deel. Attachment 1 at 19). These products are administered by
 2      CSCTC through various routes including: intravenous, intraarticular, intrathecal,
 3      through the Ommaya reservoir, and via nebulization (see Watson Deel. Attachment 2 at
 4      11 ). Although FDA understands that CSCTC no longer administers their SVF products
 5      to treat different ophthalmological conditions through the intravitreal route of
 6      administration, this review covers that intended use and the route as well because
 7      CSCTC used to administer these products intravitreally and now continues
 8      administering SVF through the following ocular routes of administration: "sub-
 9      tenons", "subconjunctival", "retrobulbar", and "topical" (see Watson Deel. Attachment
10      6 at 18).
11             12. The main subject product of this declaration, referred to as the SVF
12      product, is a human cell,.tissue, or cellular or tissue-based product (HCT/P) derived
13      from a patient's own adipose tissue after recovery of the tissue following a liposuction
14      procedure and subsequent processing ofthat tissue. Yong Deel. 1iI 19-20. The
15      recovered adipose tissue is processed with enzymatic digestion, centrifugation,
16      filtration, and other steps to obtain cellular components commonly referred to as SVF,
17      which may be administered to the same individual from whom the adipose tissue was
18      obtained. SVF may also be grown in culture for CSCTC by a third party located in
19      Monmouth, New Jersey to produce the expanded SVF product. Yong I)ecl. ,r,r 25-26.
20      CSCTC's processes for manufacturing its various SVF products are discussed in more
21      detail in the Yong Declaration. See generally, Yong Deel. ,i,r 19-26. As set forth
22      below, the SVF product is both a new drugunder the FDCA anda biological product
23      under the Public Health Service Act. Yong Deel. ,i,r 13-14.
24             13. The other product described in this review that is herein referred to as
25      SVF/V accinia product is also an HCT/P derived from a patient's adipose tissue that has
26      been processed to yield an SVF product combined with reconstituted ACAM 2000®.
27      ACAM 2000® is a live, Vaccinia Vaccine licensed in the U.S. for active immunization
28      against smallpox disease for persons determined to be at high risk for smallpox
                                                   6
         Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 7 of 52 Page ID #:432




     1        infection. CSCTC uses or has used the SVFNaccinia product for intravenous and intra-
 2            tumoral injection to patients diagnosed with different types of advanced cancers.
 3                   14. Based on my review of available scientific literature, I conclude that the
 4            overall contents of what is generally considered as SVF vary widely among patients,
 5            protocols, and studies, and depend largely on the intrinsic state of individual's tissues
 6            and procedures used for SVF isolation. The cell types found in any given SVF may
 7·           include but may not be limited to the following: adipose tissue-derived stem cells (also
 8            referred to as mesenchymal stromal cells), pericytes, vascular adventitial cells,
 9            fibroblasts, pre-adipocytes, monocytes, macrophages, red blood cells, T-regulatory
10            cells, mast cells, and smooth muscle· cells. 1•2•3•4 The quantities and proportions of each
11            cell type depend on individual patient's adipose tissue complexion, texture, and density
12            as well as methods used to derive SVF, among other factors. 5 SVF culture expansion
13            typically involves growth in culture and expansion of the obtained and enzymatically
14            processed SVF cells using various reagents in the laboratory setting. The processes for
15            SVF expansion and/or production of adipose-derived stem cells used by CSCTC's
16            third-party manufacturer in New Jersey are not well described in the available materials
17            which I reviewed.
18                  15. The following potential effects of the different cell types found in SVF have
19            been discussed in the literature: regenerative, secretory and excretory for various types
20
          1
21         Zuk PA, et al; Multilineage cells from human adipose tissue: implications for cell-based therapies.
          Tissue Eng., 2001;7(2): 211-28.
22        2
           Zuk PA, et al; Human adipose tissue is a source of multipotent stem cells; Mol Biol Cell,
          2002; 13(12):4279-95.
23
          3
24         Mitchell, JB et al; Immunophenotype of human adipose-derived cells: temporal changes in stromal-
          associated and stem cell-associated markers. Stem Cells, 2006;24(2):376-385.
25        4
            Riordan NH et al; Non-expanded adipose stronial vascular fraction cell therapy for multiple sclerosis.
26        J Transl Med. 2009; 7-29.
          5
27         Pak et al; Current use of autologous adipose tissue-derived, stromal vascular fraction cells for
          orthopedic applications. J Biomed Science, 2017; 24(9);1-12.
28
                                                              7
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 8 of 52 Page ID #:433




           of cytokines, chemokines, and growth factors, immunomodulatory, proangiogenic,
 2         anti-apoptotic, decreasing production of scar tissue, and anti-inflammatory. 6,7
 3
 4                                             I. GRAS/E Analysis
 5                                               GRASIE Standard
 6
                  16.      Section 201(g)(l) of the FDCA provides that the term "drug" means:
 7
           "(A) articles recognized in the official United States Pharmacopoeia, official
 8
           Homoeopathic Pharmacopoeia of the United States, or official National Formulary, or
 9
           any supplement to any of them; and (B) articles intended for use in the diagnosis, cure,
10
           mitigation, treatment, or prevention of disease in man or other animals; and (C) articles
11
           (other than food) intended to affect the structure or any function of the body of man or
12
           other animals; and (D) articles intended for use as a component of any articles specified
13
           in clause (A), (B), or (C)...". 21 U.S.C. § 321(g)(l). As mentioned earlier, CSCTC
14
           markets their products to treat various diseases and conditions. Hence, by virtue of
15
           their use in treatment of various diseases and conditions and the expected potential to
16
           affect human body's structures and functions, the SVF product, the expanded SVF
17
           product, and the SVFNacciniaproduct are drugs within the meaning ofFDCA,
18 .
           201(g)(l). All three are also biological products. See Yong Deel. ~113-14.
19
                 17. A drug (including one that is a biological product) is a "new drug" unless it
20
           is "generally recognized, among experts qualified by scientific training and experience
21
           to evaluate the safety and effectiveness of drugs, as ·safe and effective [(GRAS/E)] for
22
           use under the conditions prescribed, recommended, or suggested in the labeling". 21
23
           U.S.C. § 321(p). At a minimum, the contention that a drug product is GRAS/E must be
24
           supported by the same quantity and quality of scientific evidence that is required to
25
26     6
        Pak et al; Current use of autologous adipose tissue-derived stromal vascular fraction cells for
27     orthopedic applications. J Biomed Science, 2017; 24(9);1__-12.
       7
28      Gimble JM, et al; Adipose-derived stem cells for regenerative medicine. Circ. Res 2007; 100: 1249-
       1260.
                                                           8
         Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 9 of 52 Page ID #:434



     1         obtain approval of a New Drug Application or Biologics License Application for the
     2         product.
     3                18. A human drug (including a biological product) is GRAS/E if all of the
 4             following criteria are met:
 5                         A. The drug has been demonstrated to have at least "substantial
 6                  evidence" of effectiveness for approval under 21 U.S.C. § 355(d), including
 7                  adequate and well-controlled studies, see Weinberger v. Hynson, Westcott and
 8                  Dunning, Inc., 412 U.S. 609, 629-31; cf. 21 C.F.R. § 314.126;
 9                         B. The studies must be published in the scientific literature so that they
10                  are made generally available to the community of qualified experts; and
11                         C. There must be a consensus of opinions by qualified experts, which is
12                  based on the published studies, that the drug is safe and effective for its labeled
13                  indications.
14        See 21 U.S.C., § 321(p)(l).
15                    19. FDA's criteria for ''adequate and well-controlled" studies are described in
16            the Code of Federal Regulations and include, among other things, the following8 :
17                        A.       There is a clear statement of the objectives of the investigation and a
18                  summary of the proposed or actual methods of analysis in the protocol for the
19                  study and in th.e report of its results. The protocol should contain a description of
20                 the proposed methods of analysis, and the study report should contain a
21                 des_cription of the methods of analysis ultimately used. If the protocol does not
22                 .contain a description of the proposed methods of analysis, the study report should
23                 describe how the methods used were selected.
24                        B.       The study must use a design that permits a val id comparison with a
25                 control to provide a quantitative assessment of the drug effect. The protocol for
26                 the study and report of results should describe the study design precisely; for
27                 example, duration of treatment periods, whether treatments are parallel,
28        8
              21 CFR § 314.126(b).
                                                           9
      Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 10 of 52 Page ID #:435



 -1           sequential, or crossover, and whether the sample size is predetermined or based
 2            upon some interim analysis.
 3                   C.    The method of selection of subjects provides adequate assurance that
 4            they have the disease or condition being studied, or evidence of susceptibility and
 5            exposure to the condition against which prophylaxis is directed.
 6                  D.     The method of assigning patients to treatment and control groups
 7            minimizes bias and is intended to assure comparability of the groups with respect
 8            to pertinent variables such as age, gender, severity of disease, duration of disease,
 9            and use of drugs or therapy other than the test product. The protocol for the study
10            and the report of its results should describe how subjects were assigned to groups.
11            Ordinarily, in a concurrently controlled study, assignment is by randomization,
12            with or without stratification.
13                  E.     Adequate measures are taken to minimize bias on the part of the
14            subjects, observers, and analysts of the data. The protocol and report of the study
15            should describe the procedures used to accomplish this, such as blinding.
16                  F.     The methods of assessment of subjects' response are well-defined
17            and reliable. The protocol for the study and the report of results should explain the
18            variables measured, the methods of observation, and criteria used to assess
19            response.
20                  G.     There is an analysis of the results of the study adequate to assess the
21            effects of the drug. The report of the study should describe the results and the
22            analytic methods used to evaluate them, including any appropriate statistical
23           methods. The analysis should assess, among other things, the comparability of
24           test and control groups with respect to pertinent variables, and the effects of any _
25           interim data analyses performed.
26             21. Reports of adequate and well-controlled investigations provide the primary
27       basis for determining whether there is "substantial evidence" to support the claims of
28       effectiveness for new drugs and biological products. Therefore, the study report should
                                                   10
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 11 of 52 Page ID #:436




 1          provide sufficient details of study design, conduct, and analysis to allow critical
 2          evaluation and a determination of whether the characteristics of an adequate and well-
 3          controlled study are present. 9
 4                 22. For a study to be considered adequate for approval of a new drug or a
 5          biological product, it is also required that the test product be standardized as to identity,
 6          strength, quality, purity, and dosage form to give significance to the results of the
 7          investigation. 10
 8                 23. Confirmatory studies are generally necessary to provide firm evidence of
 9          efficacy or safety. 11 A confirmatory study is an adequately controlled trial in which the
10          hypotheses are stated in advance and evaluated. In such studies, the key hypothesis of
11          interest follows directly from the trial's primary objective, is always predefined, and is
12          the hypothesis that is subsequently tested when the study is complete. In a
13          confirmatory study, it is equally important to estimate, with due precision, the size of
14          the effects attributable to the treatment of interest and to relate these effects to their
15          clinical significance. 12
16                 24. Uncontrolled studies or partially controlled studies are not acceptable as the
17          sole basis for the approval of claims of effectiveness. 13 Such studies carefully
18          conducted and documented, may provide corroborative support of well-controlled
19          studies regarding efficacy and may yield valuable data regarding safety of the test
20          drug. 14 Such studies will be considered on their merits in the light of the principles
21
       9
           See 21 CFR § 314.126(a).
22
       10
23          See 21 CFR § 314.126(d).
       11
24          Guidance for Industry: E9 Statistical Principles for Clinical Trials; Septe1nber 1998, at 4-5.

25     12 Id


26     13
            See 21 C.F.R. § 314.126(e).
27     14   Id.
28
                                                             11
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 12 of 52 Page ID #:437



     1         listed in 21 C.F.R. § 314.126, with the exception of the requirement for the comparison
     2         of the treated subjects with controls,15 Isolated case reports, random experience, and
     3         reports lacking the details which permit scientific evaluation will not be considered. 16
 4                    25. To assess whether there is clinical literature to support a determination of
 5             GRAS/E, and to identify any adequate and well-controlled clinical studies or trials of
 6             safety and effectiveness of the three aforementioned products, I conducted a search of
 7             established medical literature databases, specifically, PubMed, EMBASE, Web of
 8            Science, and Cochrane [Clinical Trials], for the three products and various selected
 9            diseases and conditions that these products are intended to treat. See, supra, ,r 11.
10                                       Databases Evaluated for this Declaration
11                    26. For the search conducted to support this declaration, I used the following
12            search terms within each of the aforementioned databases:
13                         (a) "stromal vascular fraction", "SVF", "adipose-derived stem cells"; each
14                  term was paired with each of the following medical conditions: arthritis, stroke,
15                  multiple sclerosis, traumatic brain injury, fibromyalgia, irritable bowel syndrome,
16                  optic neuropathy, spinal cord injury, Parkinson's disease, amyotrophic lateral
17                  sclerosis, and chronic obstructive pulmonary disease;
18                        (b) "expanded stromal vascular fraction", "ATCELL"; each term was paired
19                  with each of the following medical conditions: hypothyroidism, stroke, arthritis,
20                  Alzheimer's disease, multiple sclerosis, Parkinson's·disease, renal failure,
21                  amyotrophic lateral sclerosis, anoxic brain injury, and diabetes;
22                        ( c) "stromal vascular fraction and vaccinia", "stromal vascular fraction and
23                  ACAM 2000       each term was paired with the word "cancer".
24            I summarize the searches below. The results of the searches are documented in
25            Attachment 1 to this declaration.
26
         15
27            21 C.F.R. § 314.126(e).
         16
28            Id.

                                                         12
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 13 of 52 Page ID #:438




 1             27. EMBASE is an abstract and indexing database specialized in the
 2      biomedical field and pharmaceutical research, with power searching tools enabling
 3      researchers to retrieve essential biomedical information. It covers the international
 4      biomedical literature from 1947 to the present day.
 5      Search Limits: Years 1-1-1990 through 11-20-2017; included Cochrane Review,
 6      Systematic Review, Controlled Clinical Trial, Randomized Controlled Trial.
 7      Search Dates: 11-20-2017 and 11-24-2017; updated on 10-i3-2018 and 04-03-2019.
 8             28. Web of Science is a multidisciplinary resource for searching, accessing,
 9      and analyzing journal literature. It provides a comprehensive citation search and covers
10      over 90 million records from scientific journals indexed from as early as 1900 to the
11      present.
12      Search Limits: No limits.
13      Search Date:.11-26-2017; updated on 10-23-2018 and 04-03-2019.
14             29. Cochrane Central Register (Clinical Trials] is a bibliography of clinical
15      trials identified by contributors to the Cochrane Collaboration and others, as part of an
16      international effort to search the world's journals and create an unbiased source of data
17      for systematic reviews and trial information. The database is also linked to trials listed
18      at https://clinicaltrials.gov/
19      Search Limits: No limits.
20      Search Date: 11-27-2017; updated on ·10-23-2018 and 04-03-2019.
21             30. PubMed is produced by the U.S. National Library of Medicine and
22      currently comprises over 29 million citations for biomedical literature from
23      MEDLINE, life science journals, and online books. PubMed citations and abstracts
24      include the fields of biomedicine and health, covering portions of the life sciences,
25      behavioral sciences, chemical sciences, and bioengineering.
26      Search Limits: Clinical trial, human.
27      Search Dates: 12-11-2017 and 12-12-2017; updated on 10-22-2018 and 04-03-2019.
28            31. The results of the search of these four databases are presented in
                                                   13
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 14 of 52 Page ID #:439



     1        Attachment 1. As noted earlier, to be considered GRAS/E, a drug (or biological
 2            product) must be demonstrated to have at least "substantial evidence" of effectiveness
 3            for approval under 21 U.S.C. § 355(d), including adequate and well-controlled studies
 4            as defmed in 21 C.F.R. § 314.126. For the three products intended for the treatment of
 5            the listed diseases and conditions, such adequate and well-controlled studies are
 6            clinical studies conducted in humans. Therefore, for the purposes of this declaration, all
 7            animal studies and studies describing in-vitro investigations have been excluded from
 8            the listings shown in Attachment 1.
 9                                                  Discussion of GRASIE criteria
10                   32. The search of published clinical studies revealed that none of the three
11            products of interest has demonstrated substantial evidence of effectiveness for the
12            listed diseases and conditions; nor has any of the three been studied in adequate and
13            well-controlled clinical studies as defined in 21 C.F.R. § 314.126. The vast majority of
14            the studies published in the scientific literature, while made generally available to the
15            community of qualified experts, comprised of in-vitro experiments and preclinical
16            animal model investigations. The limited amount of studies that were conducted in
17            humans with different disease populations were primarily case-report series, or
18            uncontrolled studies conducted without properly blinded, statistically prespecified
19            comparative assessments, or with investigational treatments that combined the products·
20            of interest and other components such as, for example, platelet-rich plasma, and lacked
21            one or more of the required elements of design that would make them to be considered
22            as adequate and well-controlled (see Attachment 1). Therefore, the three products
23            described in this declaration have not been demonstrated to have at least "substantial
24            evidence" of effectiveness for approval under 21 U.S.C. § 355(d), 17 based on adequate
25            and well-controlled studies as defined in 21 C.F.R. § 314.126.
26                  33. A number of qualified experts from different therapeutic areas, including
27       17
              See also 21 U.S.C. § 262 (establishing criteria for approval of a biologics license application).
28
                                                               14
      Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 15 of 52 Page ID #:440




  1          treatment of stroke, 18 amyotrophic lateral sclerosis, Parkinson's disease, 19 spinal cord
  2          injury, 20,21 chronic obstructive pulmonary disease,22•23 eye disease 24 osteoarthritis 25and
  3          diabetes26•27•28 among others, published their opinions and assessments of the current
  4          state of investigations related to the treatments with stem cells, including autologous
  5          adipose tissue-derived stem cells and stromal vascular fraction. While many experts
  6          proposed that there is a good potential in use of these cell-based products for various
  7          therapeutic indications, it was noted in different expert opinion articles across a wide
  8          range of medical disciplines that the current scientific evidence is rooted mainly in the
 9           in-vitro experiments and animal studies, hence resulting in the conclusion that
10
        18
11        Chan TM et al; The use of ADSCs as a treatment for chronic stroke. Cell Transplant. 2014;23(4-
        5):541-7
12      19
          Chang, KA et al; Therapeutic Potential of Human Adipose-Derived Stem Cells in Neurological
        Disorders. J Phann Sciences, Dec 2014; 126(4); 293-301
13
        20
          Xiang LB et al; Stem cell transplantation for treating spinal cord injury. A literature comparison
14
        between studies of stem cells obtained from various sources. Neural Regeneration Research,
        2012;7(16), 1256-1263
15
        21
16        Shende P, Subedi M; Pathophysiology, mechanisms and applications of mesenchymal stem cells for
        the treatment of spinal cord injury. Biomedicine and Pharmacotherapy, 2017 Jul;91:693-706
17      22
          Wecht, Set al; Mesenchymal stem cells in the treatment of chronic lung disease; Respirology, 2016,
        21(8),1366-1375
18
        23
19        Oh DK, et al; Lung regeneration therapy for chronic obstructive pulmonary disease. Tuberculosis and
        Respiratory Diseases Jan 2017, 80:1 (1-10) 1
20      24
          Mead Bet al; Stem cell treatment of degenerative eye disease. Stem Cell Res. 2015 May;14(3):243-
        57
21
        25
22         Pak J, et al; Cartilage regeneration in human with adipose tissue-derived stem cells and adipose
        stromal vascular fraction cells: Updated Status. Int. J Mol. Sci. Jul 2018, 19(7): 2146.
23     26
          Nguyen A, Guo J, et al; Stromal vascular fraction: A regenerative reality? Part 1: Current concepts
        and review of the literature. JPRAS, Feb 2016, 69(2), 170-179
24
       27
25       Guo J, Nguyen A et al; Stromal vascular fraction: A regenerative reality? Part 2: Mechanisms of
       regenerative action. JPRAS, Feb 2016, 69(2), 180-8
26 28
   · Gharravi, AM, Jafar A, et al; Current status of stem cell therapy and scaffolds for the treatment of
27 diabetes mellitus. Diabetes and Metabolic Syndrome: Clinical Research and Reviews 2018 12:6 (1133-
        1139)
28
                                                          15
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 16 of 52 Page ID #:441




 1          appropriately conducted clinical trials are needed to adequately evaluate safety and
 2          effectiveness of these products in different diseases. In November 2015, the American
 3          Academy of Orthopedic Surgeons (AAOS) conducted a symposium on biologic
 4          treatments (i.e., adipose tissue-derived stem cells and other stem cell-based therapies as
 5          well as scaffold-based treatments) of orthopedic injuries and subsequently-published a
 6          consensus report on the topic identifying significant knowledge gaps and the need for
 7          future research in appropriately designed clinical trials evaluating these therapies/9
 8                34. In addition, significant safety concerns were raised in clinical literature
 9          describing serious adverse occurrences of retinal detachments, increased intraocular
10          pressure, vitreous hemorrhage, and vision loss30•31 that resulted from intravitreal
11          administration of autologous adipose tissue-derived stem cells, and serious events of
12          pulmonary embolism occurring after intravenous administration of autologous adipose
13          tissue-derived stem cells.32 Following some of these reports, the American Academy of
14          Ophthalmology33 and the American Lung Association34 issued warnings to consumers
15          about the potential for harm and the lack of proven benefit of these treatments. Thus,
16          there is no consensus of opinions by qualified experts that the products described in
17          this declaration are safe and effective for their labeled indications. (See also Section III
18          below).
19     29
         LaPrade R, et al; AAOS Research symposium updates and consensus: biologic treatment of
       orthopedic injuries. J Am. Acad. of Orthop. Surg., 2016; 24: e62-e78.
20

21
       3°Kuriyan AE et al; Vision Loss after Intravitreal Injection of Autologous "Stem Cells" for AMD. N
       Engl. J Med. 2017 Mar 16;376( 11):1047-1053
22     31 Saraf SS, et al. Bilateral Retinal Detachments After Intravitreal Injection of Adipose-Derived ' Stem
       Cells' in a Patient with Exudative Macular Degeneration. Ophthalmic Surg. Lasers Imaging Retina.
23     Sep. 2017;48(9): 772-775.
24     32
          Jung JW et al; Familial occurrence of pulmonary embolism after intravenous adipose tissue-derived
       stem cell therapy. Yonsei Med J, 2013;54: 1239-96.
25
       33
26        American Academy of Ophthalmology Statement on Stem Cell Therapy fo r Treating Eye Disease
       https://www.aao.org/newsroom/news-releases/detail/statement-stem-cell-theiapy-treatment-eye-disease
27     34
         Stem Cell Therapy for Lung Diseases https://www.lung.org/our-initiatives/research/about-our-
28     research/stem-cell-therapy.html

                                                          16
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 17 of 52 Page ID #:442




 1                 35. In summary, based on my review of the scientific and clinical literature,
 2          none of the products that are subject of this declaration, namely the SVF product, the
 3          expanded SVF product, and the SVFNaccinia product meets all three criteria for
 4          GRAS/E described in Section I.
 5                                                 GRASIE conclusion
 6                 36. I conclude, based on my professional experience and the conducted
 7          literature search, that
 8.                     A.      the SVF product IS NOT GRAS/E;
 9                      B.      the expanded SVF product IS NOT GRAS/E; and
10                      C.     the SVFNaccinia product IS NOT GRAS/E.
11
12                                      II. Prescription Drug Analysis
13                 3 7. A prescription drug is a drug intended for use by man which, because of its
14          toxicity or other potentiality for harmful effect, or the method of its use, or the
15          collateral measures necessary to its use, is not safe for use except under the supervision
16          of a practitioner licensed by law to administer such drug; or a drug limited by an
17          approved application under Section 505 of the Act (21 U.S.C. § 355) for use under the
18          professional supervision of a practitioner licensed by law to adtninister such drug. 35
19                38. CSCTC's SVF and expanded SVF products are administered by CSCTC
20          through various routes including: intravenous, intraarticular, intrathecal, intradermal,
21          through the Ommaya reservoir, and via nebulization (the SVF product); and
22          intravenous, intraarticular, and intraventricular (the expanded SVF product). The
23          SVFNaccinia product is administered intravenously and by direct injection into the
24          cancer lesions. See Watson Deel. Attachment 2 at 11-12.
25                39. Although FDA understands that CSCTC no longer markets their SVF and
26          expanded SVF products to treat ophthalmological conditions through the intrav itreal
27          route of administration, CSCTC, under its protocol for autologous adipose tissue-
28     35
            21 U.S.C. § 353(b)(l).
                                                        17
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 18 of 52 Page ID #:443




     1   derived stromal vascular fraction "to repair ophthalmologic conditions" (see Watson
 2       Deel. Attachment I at 17; Attachment 5 at 2), continues to admin1ster these products
 3       using the following routes of administration: "sub-tenons", "subconjunctival",
 4       "retrobulbar", and "topical" (see Watson Deel. Attachment 6).
 5              40. The three products are used by CSCTC to treat a wide range of diseases or
 6       conditions, including the following (see Watson Deel. Attachment 2 at 11):
 7                   A.    The SVF product - arthritis, stroke, multiple sclerosis, traumatic
 8            brain injury, fibromyalgia, irritable bowel syndrome, optic neuropathy, spinal cord .
 9            injury, Parkinson's disease, amyotrophic lateral sclerosis, and chronic obstructive
10            pulmonary disease;
11                  B.     The expanded SVF product-Parkinson's disease, stroke, multiple
12            sclerosis, amyotrophic lateral sclerosis, anoxic btain injury, hypothyroidism,
13            Alzheimer's disease, diabetes, and renal failure; and
14                  C.     The SVFNaccinia product-advanced stage cancers.
15       Therefore, all three products at issue meet the following criteria for classification as
16       prescription drugs:
17                         (1)    Collateral measures necessary for safe, effective, and
18           appropriate use:
19                                a.    Medical expertise, licensure, and appropriate
20           subspecialty training are required to diagnose the diseases and condition(s) to be
21           treated and to determine the appropriate therapeutic intervention(s) for the
22           diseases and conditions listed above.
23                                b.    Medical expertise, licensure, and/or appropriate training
24           are also required to administer the product through the intended parenteral routes
25           of administration.
26                                c.    Medical expertise and training are required for the
27           appropriate administration of Vaccinia Vaccine, live (ACAM 2000®) that is FDA
28
                                                     18
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 19 of 52 Page ID #:444




 1            approved to be administered by the percutaneous route (scarification)36, and not
 2            intravenously or into the cancer lesions, as per CSCTC's use. Also, Vaccinia
 3            Vaccine is contraindicated for administration to patients who have severe
 4            immunodeficiency. Notably, patients with advanced stage cancers are often
 5            severely immunocompromised due to their disease or treatments' side effects and,
 6            therefore, at a greater risk for development of complications associated with the
 7            use ofVaccinia Vaccine, live (ACAM 2000 )
 8                           (2)     Toxicity or other potentiality for harmful effects:
 9                                   a.     Potential infections and other local and systemic
10            reactions may be associated with administration of cell-based products when given
11            intravenously and through other intended parenteral routes of administration.
12            Several reports from the available literature describe adverse occurrences of
13            administration site reactions such as swelling, tendonitis37 , and intra-articular
14            pain38, as well as systemic reactions manifested by transient fever, 39 facial flushing
15            and myalgia,40 and pulmonary embolism. 41 •42 Intravitreal administration of
16            autologous adipose-derived stem cells has resulted in retinal detachments,
17
       36 Vaccinia Vaccine, Live; Prescribing Information:
18     https ://www.fda.gov/downloads/BiologicsBloodVaccinesNaccines/ApprovedProducts/UCM 1425 72.pd
       f
19     37 Pak J et al; Safety reporting on implantation of autologous adipose tissue-derived stem cells with
       platelet-rich plasma into human articular joints. BMC, Musculoskelet Disor d, 2013;14-337
20
       38
         Siennicka Ket al; Adipose-derived cells (stromal vascular fraction) transplanted for orthopedic or
21     neurological purposes: are they safe enough? Stem Cell International, 2016 Article ID 5762916
22     39
         Lalu MM et al; Safety of cell therapy with mesenchymal stromal cells (SafeCell): a systematic
       review and meta-analysis of clinical trials. PLoS ONE 2012;7 (10): e47559
23
       40
         Rodriguez JP et al; Autologous stromal vascular fraction therapy for rheumatoid arthritis: rationale
24     and clinical safety. Int. Arch Med, 2012, 5:5
25     41
          Jung JW et al; Familial occurrence of pulmonary embolism after intravenous adipose tissue-derived
       stem cell therapy. Yonsei Med J, 2013;54: 1239-96.
26
       42
27        Tatsumi et al; Tissue factor triggers procoagulation in transplanted mesenchymal stem cells leading
       to thromboembolism. Biomedical and Biophysical Research Communications 2013, 431; 203-209
28
                                                          19
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 20 of 52 Page ID #:445




 1            increased intra-ocular pressure, vitreous hemorrhage, and vision loss.43•44
 2                                   b.      Potentially serious neurological complications may be
 3            associated with the products' intended routes of administration, including through
 4            the Ommaya reservoir and intrathecally. Other occurrences reported with
 5            intrathecal administration of autologous SVF included temporary low backand leg
 6            pain associated with elevated cerebrospinal fluid protein and nucleated cells with
 7            MRI imaging demonstrating thickened lumbosacral nerve roots,45 and urinary tract
 8            infection, headache, nausea, and vomiting. 46
 9                                   C.      Serious adverse reactions described in the boxed
10            warning ofVaccinia Vaccine, live (ACAM2000®) are associated with
11            administration of Vaccinia Vaccine, live (ACAM2000®) which include but are
12            not limited to: myocarditis, pericarditis, encephalitis, encephalomyelitis,
13            encephalopathy, progressive and generalized vaccinia, severe vaccinial skin.
14            infections, erythema multiforme major, including Stevens-Johnson syndrome,
15            ocular complications, blindness, eczema vaccinatum resulting in permanent
16            sequalae or death. 47
17              41. Based on the collateral measures necessary for the use of these products,
18
19     43
         Kuriyan AE et al; Vision Loss after Intravitreal Injection of Autologous " Stem Cells" for AMD. N
       Engl. J Med. 2017 Mar 16;376(11):1047.:.1053
20
       44
         Saraf SS, et al. Bilateral Retinal Detachments After Intravitreal Injection of Adipose-Derived 'Stem
21     Cells' in a Patient with Exudative Macular Degeneration. Ophthalmic Surg. Lasers Imaging Retina.
       Sep. 2017;48(9): 772-775.
22
      45
23       Staff N et al; Safety of intrathecal autologous adipose-derived mesenchyinal stromal cells in patients
       with ALS. Amyotrophic Lateral Sclerosis and Frontotemporal Degeneration; 2016; 17 Supplement 1 .
24     (242)
       46
25        Hur, JW et al; Intrathecal transplantation of autologous adipose-derived mesenchymal stem cells for
       treating spinal cord injury: A human trial. Journal of Spinal Cord Medicine; SN 1079-0268, 2016 (39)
26     6:655-664

27     47
        Vaccinia Vaccine, Live; Prescribing Information:
28    https ://www.fda.gov/downloads/BiologicsBloodVaccinesNaccines/ ApprovedProducts/UCM 142572.pd
      f
                                                         20
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 21 of 52 Page ID #:446




         their expected toxicities and potential for harmful effects, I conclude that these three
 2       products cannot be self-administered safely by lay people and, if administered, should
 3       be administered only under the supervision of a practitioner licensed by law to
 4       administer such products.
 5             42. In addition, the diseases and conditions for which CSCTC is currently
 6       marketing the products of interest cannot be self-diagnosed, and these diseases and
 7      conditions are not amenable to self-treatment.
 8                                       Prescription drug conclusion
 9             43. Therefore, based on my training and professional experience, I conclude
10      that due to the potential and known toxicities that may occur with their use, the method
11      of their use and the collateral measures necessary to their use, the three products, i.e.,
12      the SVF product, the expanded SVF product, and the SVFNaccinia product are
13      prescription drugs within the meaningof21 U.S.C. § 353(b).
14
15                                          III. Directions for Use
16             44. Drug labeling refers to all the printed information that accompanies a drug
17      or biological product, including the wrapping and package insert. Drug labeling is
18      regulated by FDA. See 21 U.S.C. § 352; see also 21 U.S.C. § 355(a), (d); 21 C.F.R.
19      Part 201.
20            45. The FDCA requires the labeling of a drug to bear "adequate directions for
21      use," and FDA, by .regulation, has defined adequate directions for use to mean
22      "directions under which the layman can use a drug safely and for the purposes for
23      which it is intended." See 21 U.S.C § 352(f)(l) and 21 C.F.R. § 201.5. Directions for
24      use may be inadequate unless the label contains, among other things, statements of: all
25      conditions, purposes, or uses for which the drug is intended; quantity of dose,
26      including, among others, the usual quantities for each of the uses for which it is
27      intended and usual quantities for persons of different physical conditions; frequency
28      and duration of administration; time of administration in relation to time of meals,
                                                   21
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 22 of 52 Page ID #:447



     1    onset of symptoms, and other factors; and route or method of administration. See
 2        21 C.F.R. § 201.5(a)-(g).
 3              46. Some drugs are regulated as prescription drugs, meaning they can be
 4        dispensed only by valid prescription. As discussed above, CSCTC' s products are
 5       prescription drugs under the FDCA. See, supra, Section II.
 6              47. A prescription drug may be dispensed only pursuant to a physician's
 7       prescription and, by its nature, may be used safely only under the supervision of a
 8       physician. See 21 U.S.C. § 353(b)(l)(B). Prescription drugs for human use are exempt
 9       from the requirement that their labeling bear adequate directions for use if certain
10       criteria are met, including that the labeling on or within the package from which the
11       drug is to be dispensed contains "adequate information for use," including "indications,
12       effects, dosages, routes, methods, and frequency and duration of administration, and
13       any relevant hazards, contraindications, side effects, and precautions under which
14       practitioners licensed by law to administer the drug can use the drug safely and for the
15       purposes for which it is intended, including all purposes for which it is advertised or
16       represented." 21 C.F.R. § 201.100.
17             48. CSCTC's staff in the Beverly Hills facility has stated that there is no
18       labeling for their products that are both manufactured and administered at CSCTC BH.
19       If SVF is transported to different locations, the container is typically labeled with the
20       patient's name, date of birth, date processed, and the staffs initials (see Watson Deel.
21       Attachment 2 at 19). At CSCTC facility in Rancho Mirage, the final product labeling is
22       represented by hand-written patient's last name and first initial and the date when SVF
23       is "to be deployed" (see Watson Deel. Attachment 1 at 33). There is no written
24       procedure for final product labeling in either facility. No other information is provided:
25       there is no information about, for example, indications, dosages, frequency and
26       duration of administration, or route or method of administration. The only product that
27       does have an adequate label is the Vaccinia Vaccine component of the SVFNaccinia
28       product. However, as described above, CSCTC does not use the Vaccinia Vaccine live
                                                    22
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 23 of 52 Page ID #:448




 1      (ACAM2000®) according to its approved dosing, the labeled indication, and the
 2       labeled instructions for safe use. As such, the labeling of any ofCSCTC's products
 3      does not contain adequate information for use and does not satisfy the standard for
 4      adequate directions for use, as per 21 C.F.R. § 201.5, or per 21 C.F.R. § 201.100.
 5             49. Even if CSCTC attempts to label their products with adequate information
 6      and directions for use, it is currently not possible to do so. As noted above, adequate
 7      information and directions for use presented in a product's labeling must include,
 8      among other things, specific indications, dose and route of administration, warnings,
 9      precautions, contraindications, adverse reactions, and other information pertinent to
10      safe and effective use of the product. To this end, the labeling of a drug product must
11      contain information that can be obtained from well-designed and properly conducted
12      scientific and clinical investigations (including adequate and well-controlled studies)
13      that would enable sound scientific conclusions about the drug's safety and
14      effectiveness. As discussed above, see supra, Section I, there are no sufficient
15      scientific data on which adequate information or adequate directions for using of any of
16      the three products described herein could possibly be based.
17            50. As discussed above, CSCTC's products do not currently have adequate
18      labeling. In addition, the studies published in the available literature are not adequate
19      and well-controlled, as per 21 C.F .R. § 314.126, and no adequate data regarding safety
20      and substantial effectiveness of these products for the aforementioned diseases and
21      conditions can be obtained from these studies. Therefore, at this time, none of
22      CSCTC's products can possibly satisfy the requirement that its labeling bear adequate
23      directions for use.
24                                     Directions for Use Conclusion
25            51. Based on the information presented above, I conclude that, at present,
26      labeling for any of the CSCTC products does not - and cannot - bear adequate
27      directions for use.
28
                                                   23
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 24 of 52 Page ID #:449




     1                    IV. Additional Support for Other Potentiality for Harmful Effects
 2                   52. Establishment Inspection Reports at CSCTC's Beverly Hills and Rancho
 3             Mirage facilities (see, generally, Watson Deel. Attachments 1 and 2) described the lack
 4            of adequate procedures and the absence of functional infrastructure for appropriate
 5            medical monitoring of patients with serious and chronic systemic conditions (see
 6            Section II) after administration of CSCTC's products. While assessing these
 7            observations was not the primary subject of this declaration, it is worthwhile to note
 8            one particularly egregious inspectional observation which concerns 25 patients with
 9            advanced cancers who were treated with the SVFNaccinia product. According to the
10            EIR report, following the SVFNaccinia product administration, at least 8 patients were
11            described to develop itchy rashes and blisters of variable severity and extent as well as
12            other occurrences (see Watson Deel. Attachment 1 at 21-24). It is notable that the
13            records are incomplete, and the occurrences are not fully documented. Such reactions
14            in the severely immunocompromised patients. with advanced cancers likely represented
15            vaccinia infection and post-administration adverse reactions occurring after the
16            SVFNaccinia product administration and manifesting as an eruption of skin lesions
17            caused by vaccinia. Vaccinia Vaccine live (ACAM2000®) labeling contains a boxed
18            warning describing the expected adverse reactions including serious skin and systemic
19            reactions48 (see Section II). This vaccine is contraindicated for administration to
20            patients with severe immunodeficiencies (including patients with acquired
21            immunodeficiency states associated with malignancies-Sections 4.0 and 5.4 Vaccinia
22            Vaccine live (ACAM2000®) Prescribing Information)49 because these patients are not
23            expected to benefit from the vaccine and are at high risk for developing a clinical
24            presentation of severe vaccinia infection as well as other adverse reactions associated
25            with the live Vaccinia Vaccine. Further, according to the inspectional description, most
26
         48
27         Vaccinia Vaccine, Live; Prescribing Information:
         https://www.fda.gov/downloads/BiologicsBloodVaccinesN accines/ApprovedProducts/UCM 142572.pd
28       f
         49   Id.
                                                        24
     Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 25 of 52 Page ID #:450




 1      patients died within 1-3 months of CSCTC's product administration (see Watson Deel.
 2      Attachment 1 at 49). Given the limited information provided in the report, it is unclear
 3      to which extent, if any, the administration of CSCTC' s product may have contributed
 4      to the lethal outcomes in these patients.·
 5              53. Patients with advanced cancers, in addition to having regional
 6      complications of locally expanded and metastasized tumors, often suffer from
 7 ·    continuous pain requiring analgesics, chronic intractable malaise, and sometimes
 8      cognitive decline, among other disease manifestations. Making their already distressed
 9      condition worse by inducing the expected adverse occurrences in this patient
10      population-through administration of the live Vaccinia Vaccine in the face of the
11      unlikely benefit from the given SVFNaccinia experimental treatment cannot be
12      medically and ethically justified.
13
14      I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C. §
15      1746.
16
17      Executed on June 24, 2019.
18
19
20
                                                      Larissa Lapteva, M .D.
21                                                    Associate Director
                                                      U.S: Food and Drug Administration
22
                                                      Center for Biologics Evaluation and
23                                                          Research
24                                                    Office ofTissues and Advanced Therapies
                                                      Division of Clinical Evaluation,
25                                                          Pharmacology, and Toxicology
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                                                     25
Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 26 of 52 Page ID #:451



  Attachment 1: Search Results


  EMBASE

  Arthritis

  (1) Comparative clinical observation of arthroscopic microfracture in the presence and
  absence ofa stromal vascular fraction injection for osteoarthritis.

  Nguyen P.D., Tran T.D.-X., Nguyen H.T.-N., Vu H.T., Le P.T.-B., Phan N.L.-C., Vu N.B., Phan
  N.K., van Pham P.

  Stem Cells Translational Medicine, Jan 2017 6:1 (187-195).

  ABSTRACT: Osteoarthritis (OA) is a degenerative cartilage disease that is characterized by a
  local inflammatory reaction. Consequently, many studies have been performed to identify
  suitable prevention and treatment interventions. In recent years, both arthroscopic microfracture
  (AM) and stem cell therapy have been used clinically to treat OA. This study aimed to evaluate
  the clinical effects of AM in the presence and absence of a stromal vascular fraction (SVF)
  injection in the management of patients with OA. Thirty patients with grade 2 or 3 (Lawrence
  scale) OA of the knee participated in this study. Placebo group patients (n = 15) received AM
  alone; treatment group patients (n = 15) received AM and an adipose tissue-derived SVF
  injection. The SVF was suspended in platelet-rich plasma (PRP) before injection into the joint.
  Patientgroups were monitored and scored with the Western Ontario and McMaster Universities
 ·Arthritis Index (WOMAC), Lysholm, Visual Analog Pain Scale (VAS), and modified Outer
  bridge classifications before treatment and at 6, 12, and 18 months post-treatment. Bone marrow
  edema was also assessed at these time points. Patients were evaluated for knee activity (joint
  motion amplitude) and adverse effects relating to surgery and stem cell injection. Treatment
  efficacy was significantly different between placebo and treatment groups. All treatment group
  patients had significantly reduced pain and WOMAC scores, and increased Lysholm and VAS
  scores compared with the placebo group. These findings suggest that the SVF/PRP injection
  efficiently improved OA for 18 months after treatment. This study will be continuously
  monitored for additional 24 months.

  (2) Bone marrow concentrated cells and stromal vascular fraction cells injections for
  osteoarthritis treatment: A systematic review.

  Vadala G., Papalia R., Verde LL.A., Russo F., Denaro V., Rosa M.A.

  Journal of Biological Regulators and Homeostatic Agents Sep 2016; 30:4 Supplement 1 (69-76);

  ABSTRACT: The aim of this systematic review is to examine current clinical evidence
  supporting the intraarticular injection of bone marrow concentrate cells (BMC) and adipose-


                                                                                                  1
Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 27 of 52 Page ID #:452




  derived stromal vascular fraction cells (SVF) for the treatment of osteoarthritis (OA). The
  research was performed on PubMed (Medline), EMBASE and Cochrane Library considering the
  English literature. Only clinical trials have been included. The systematic research identified.
  twelve clinical trials. Articles included in the study, were one of level II, four of level III, six of
  level IV and one level V. Among clinical trials, none were randomized, four were comparative,
  seven were case series, and one was a case report. Seven studies were focused on the use of SVF
  (1332 patients) and five on the use of BMC (963 patients), with preliminary interesting findings
  in the OA treatment. Despite the growing interest in this biological approach for OA, knowledge
  on this topic is still preliminary. Randomized controlled trials are needed to support the potential
  of BMC and SVF injections and to evaluate advantages and disadvantages with respect to the
  available treatments.

  (3) A controlled clinical trial ofadipose derived stem cell transplantation for osteoarthritis.

  PhamP.V.

  Cytotherapy, June 2016; 18:6 SUPPL. 1 (S12-S13).

  ABSTRACT: Adipose-derived stem cell (ADSC) transplantation is a promising therapy for some
  chronic diseases. Some previous clinical trials showed that some diseases could improve and
  recover by ADSC transplantation. This study aimed to investigate ADSC transplantation effects
  on osteoarthritis compared to control. This clinical trial was performed at 3 hospitals with
  controlled groups. There were total 60 patients enrolling this study. All patients were divided
  into 3 groups: Group 1 (15 patients, traditional treatment therapy by endoscopic surgery- as
  control), Group 2 (15 patients; endoscopic surgery+ ADSC injection), Group 3 (ADSC
  injection). In the Group 2, patients were injected with an autologous mixture of stem cell-
  enriched fractions (stromal vascular fraction-SVF) and activated platelet rich plasma (aPRP) that
  were prepared from fat tissue, and peripheral blood respectively, while in group 3, patients only
  were injected with SVF and aPRP without endoscopic surgery. The results showed that all
  patients in treated groups significantly reduced pain, reduced the WOMAC score, clearly
  increased the Lysholm scores and VAS scores compared to the control group after 18 months.
  These findings suggested injection of SVFs and a PRP mixture efficiently improved the
  osteoarthritis after six months.

  (4) Safety ofstromal vascular fraction cells applications in chronic pain.

  Lander E.B., Berman M.H., See J.R.

  Techniques in Regional Anesthesia and Pain Management 2015 19 :1-2(10 - 13)

  ABSTRACT: Autologous stromal vascular fraction (SVF) can be enzymatically released from
  lipoaspirate obtained under local anesthesia. SVF is known to have regenerative, anti-
  inflammatory, pain mitigating, and immune-modulatory properties. Our translational research


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 28 of 52 Page ID #:453



  network has been studying the safety and efficacy of SVF since 2012. Almost 100 related
  physician teams around the world are applying the same institutional review board-approved
  methods of SVF production, which use a surgically closed SVF isolation system. During the
  same outpatient surgical procedure, procured SVF is administered according to strict
  investigative protocols to mitigate diseases associated with chronic pain including arthritis,
  autoimmune disease, neurodegenerative disease, and various inflammatory conditions. The
  shared research collaborative online database contains safety and efficacy data on more than
  3500 patients. Our processed SVF contains valuable anti-inflammatory cytokine growth factors
  in addition to both adult mesenchymal and hematopoietic stem cells targeting damaged, or
  inflamed tissue. SVF administration may potentially play a large role in the outpatient treatment
  of pain. In this article, we describe our protocol for the production and administration of SVF,
  and its safety and efficacy in the treatment of pain associated with chronic conditions.

  (5) A Prospective Safety Study ofAutologous Adipose-Derived Stromal Vascular Fraction
  Using a Specialized Surgical Processing System.

  Berman, M. and Lander, E.

  The American Journal of Cosmetic Surgery 2017, Vol. 34(3) 129-142

  ABSTRACT: Autologous adipose-derived stromal vascular fraction (SVF) has been proposed as
  a remedy for a number of inflammatory, autoimmune, and degenerative conditions. This
  procedure had mainly been evaluated in veterinary medicine and outside the United States when
  this study was initiated. This study looks at adverse events to evaluate safety as its primary and
  secondarily follows efficacy of SVF as deployed through intra-articular injections and
  intravenous infusions for a variety of orthopedic and non-orthopedic conditions. We
  hypothesized that autologous SVF deployment using a specialized surgical processing system
  (the CSN Time Machine® system, trademark name for the MediKhan Lipokit/Maxstem system;
  MediKhan, Los Angeles, California) was safe (i.e., minimally acceptable adverse events) and
  that clinical efficacy could be demonstrated. This was a prospective case series. After
  institutional review board approval, 1698 SVF deployment procedures were performed between
  2011 and 2016 by us and other affiliates with our same system trained by us as a nearly closed
  sterile surgical lipotransfer procedure on 1524 patients with various degenerative, inflammatory,
  and autoimmune conditions with a majority involving the musculoskeletal system. All outcome
  test data were collected in an online database over a 5-year period. Our study shows a very low
  number of reported adverse events and a reduction in pain ratings after 6 months or
  more across a variety of musculoskeletal diseases and improvements in a variety of other
  degenerative conditions. Our system for producing adipose-derived SVF therapy for our patients
  was safe and benefits could be measured for a long time after SVF deployment. Further
  controlled long-term studies for specific disease conditions with large patient populations are
  necessary to further investigate the benefits observed.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 29 of 52 Page ID #:454



  Amyotrophic Lateral Sclerosis

  (1) Safety of intrathecal autologous adipose-derived mesenchymal stromal cells in patients
  withALS.

  StaffN., Madigan N., Morris J., Jentoft M., Sorenson E., Butler G., Gastineau D., Dietz A.,
  Windebank A.

  Amyotrophic Lateral Sclerosis and Frontotemporal Degeneration; 2016; 17 Supplement 1 (242).

  ABSTRACT: Background: Mesenchymal stromal cells (MSCs) have been proposed to be a
  treatment for amyotrophic lateral sclerosis (ALS) due to their secretion of growth factors and
  alteration of the immune system. Preqlinical studies have shown efficacy and human studies of
  bone-marrow derived MSCs have been promising. Methods: In order to determine the safety of
  intrathecal autologous adipose-derived MSC treatment for ALS, subjects with clinically-definite
  ALS by El Escorial criteria were enrolled into this Phase I dose escalation clinical trial. Doses
  ranged from lxl0(7) cells (single dose) to 1x10(8) cells (two monthly doses). Following
  intrathecal treatments, subjects underwent standardized follow-up, which included clinical
  examinations, revised ALS Functional Rating Scale (ALSFRS-R) questionnaire, blood and
  cerebrospinal fluid sampling, and magnetic resonance imaging (MRI) of the neuroaxis; Results:
  A total of27 patients with ALS were enrolled and treated in this study. The safety profile was
  positive, with the most common side-effects reported being temporary low back and leg pain at
  the highest dose level. These clinical findings were associated with elevated cerebrospinal fluid
  protein and nucleated cells with MRI imaging of thickened lumbosacral nerve roots. Autopsies
  from four treated patients did not show evidence of tumor formation. Longitudinal ALSFRS-R
  questionnaires confirmed continued progression of disease in all treated patients. Conclusion:
  Intrathecal treatment of autologous adipose derived MSCs appears safe at the tested doses in
  ALS. These results warrant further exploration of efficacy in Phase II trials.

  (2) Mesenchymal stem cells from adipose tissue in the treatment ofamyotrophic lateral
  sclerosis - a case report.

  Sekiya E.J., Jordy S.S., Kuhn T.I. Forte A., Bruniera G., Alves A., Bydlowski S.P.

  Cytotherapy (2013) 15:4 SUPPL. 1 (S33); April 2013

  19th Annual Meeting of the International Society for Cellular Therapy; ISCT 2013 Auckland,
  New Zealand; 2013-04-22 to 2013-04-25

 ABSTRACT: Amyotrophic Lateral Sclerosis (ALS) is a fatal neurodegenerative disease that
 selectively affects motor neurons in the brain and spinal cord leading to bulbar and respiratory
 muscle weakness. Currently there is no treatment proven effective and the disease is considered
 incurable. Mesenchymal Stem Cells (MSCs) derived from adipose tissue have
 immunomodulatory properties, inducing suppression and differentiation into neural cell types in
 vitro. Here we describe a compassionate intervention in a 66 years old male patient with
 Amyotrophic Lateral Sclerosis. The patient is suffering from Amyotrophic Lateral Sclerosis


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 30 of 52 Page ID #:455




  diagnosed 4 years ago, unsuccessfully treated with Riluzole. It was observed atrophy of the
  shoulder girdle, upper limbs and thenar and hypothenar regions, fasciculations, tetra-pyramidal
  release (Hoffmann and Babinsky bilateral and global hyperreflexia) and inexhaustible clonus in
  the lower limbs. ALSFRS (ALS Functional Rating Scale) and its revised version ALSFRS-R
  were ALSFRS18 and ALSFRS-R26, respectively. After approval by the Ethics Committee,
  adipose tissue was collected from abdominal region by liposuction. Adipose tissue-derived
  MSCs were expanded under GMP conditions and administered intrathecally. Five days after the
  first infusion of 1x 10(7) cells, the patient showed improvement of overall muscle strength and
  speech, exhaustible clonus in limbs, absence of Babinsky reflex in the lower left limb, and
  ALSFRS25 and ALSFRS-R33. One month later clinical condition worsened, with ALSFRS18
  and ALSFRS-R26. The patient received other two higher dose infusions (5x10(7) and 10xl0(7)
  cells) during the next 6 months and clinical data improved (ALSFRS25 and ALSFRS-R33) for a
  longer period. Moreover, no adverse effects were observed by MSC administration. In
  conclusion, although the study was performed in a single patient, intrathecal administration of
  autologous adipose tissue-derived MSC is potentially safe. It is tempting to speculate that
  administration of these cells could be beneficial for ALS patients, mainly using higher doses.


  Diabetes

  (1) Non-reconstructable peripheral vascular disease of the lower extremity in ten patients
  treated with adipose-derived stromal vascular fraction cells.

  Carstens M.H., Gomez A ., Cortes R., Turner E., Perez C., Ocon M., Correa D.

  Stem Cell Research (2017) 18 (14-21.); 1 Jan 2017

  ABSTRACT: We present a series often patients with peripheral vascular disease (PVD),
  secondary to arteriosclerosis (AS) and/or diabetes mellitus (DM), treated with local injection of
  non-expanded autologous, adipose-derived stromal vascular fraction (SVF) cells for the purposes
  of enhancing neovascularization and chronic wound healing. Adipose tissue was surgically
  harvested and processed to yield the heterogeneous SVF cells for immediate point-of-care
  injection. The gastrocnemius muscles and ulcers or wounds were locally injected with the
  resulting SVF. Response to treatment was evaluated both clinically based on pain-free
  ambulation, wound healing capacity over time and ankle/brachial index (ABI) measurements,
  and by imaging using MRI-based angiography. All patients exhibited clinical improvement
  (reduction in rest pain and claudication and improvements in ABI), with imaging signs of
  neovascularization in the majority (5 of 6) of patients in whom the evaluation was feasible.
  Similarly, 5 of 6 chronic wounds healed without further surgical intervention. This series
  highlights the utility of non-expanded adipose-derived heterogeneous SVF cell population
  processed at the point-of-care, to treat patients with end-stage PVD as an alte rnative to palliation
  or amputation.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 31 of 52 Page ID #:456




  (2) Expanded autologous adipose derived stem cell transplantation for type 2 diabetes mellitus:
  A preliminary report of3 cases and ·review ofliterature.

  Phuong ·T-B.L., Phuc V.P., Ngoc B.V., Loan T.-T.D., Ngoc K.P.

  Biomedical Research and Therapy (2016) 3:12 (1034-1044); 15 Dec 2016

  ABSTRACT: Type 2 diabetes mellitus· (T2D) is the most common form of diabetes mellitus,
  accounting for 90% of diabetes mellitus in patients. At the present time, although T2D can be
  treated by various drugs and therapies using insulin replacement, reports have shown that
  complications including microvascular, macrovascular complications and therapy resistance can
  occur in patients on long term treatment. Stem cell therapy is regarded as a promising therapy for
  diabetes mellitus, including T2D. The aim of this study was to evaluate the safety and
  therapeutic effect of expanded autologous adipose derived stem cell (ADSC) transplantation for
  T2D treatment; the pilot study included 3 patients who were followed for 3 months. Methods:
  The ADS Cs were isolated from stromal vascular fractions, harvested from the belly of the
  patient, and expanded for 21 days per previously published studies. Before transplantation,
  ADSCs were evaluated for endotoxin, mycoplasma contamination, and karyotype. All patients
  were transfused with ADSCs at 1-2x10(6) cells/kg of body weight. Patients were evaluated for
  criteria related to transplantation safety and therapeutic effects; these included: fever, blood
  glucose level before transplantation of ADSCs, and blood glucose level after transplantation (at
  1, 2 and 3 months). Results: The results showed that all samples of ADSCs exhibited the MSC
  phenotype with stable karyotype (2n=46), there was no contamination of mycoplasma, and ·
  endotoxin levels were low (<0.25 EU/mL). No adverse effects were detected after 3 months of
  transplantation. Decreases of blood glucose levels were recorded in all patients. Conclusion: The
  findings from this initial study show that expanded autologous ADSCs may be a promising
  treatment for T2D.

  (3) Safety and effect of adipose tissue-derived stem cell implantation in patients with critical
  limb ischemia: A pilot study.

  Lee H.C., Park J.S., Choi J.H.

  Global Heart, March 2014: 9:1 SUPPL. 1 (el 1).

  World Congress of Cardiology Scientific Sessions 2014, WCC 2014,Melbourne, VIC, Australia;
  2014-05-04 to 2014-05-07

  ABSTRACT: Introduction: Adipose tissue-derived mesenchymal stem cells (ADSCs)_are potent
  and effective for inducing regeneration of damaged tissue. Treatment of critical limb ischemia
  (CLI) is occasionally difficult through bypass operation or percutaneous vascular intervention.
  Objectives: ADSC transplantation shows proangiogenic action in animal hindlimb ischemia
  models. We performed multiple intramuscular ADSC injections in CLI patients to treat diabetic
  foot and thromboarigiitis obliterans (TAO) and assessed its safety and efficacy. Methods: The
  study included 15 CLI patients (15 men, median age: 52 years, range: 24-73 years) with ischemic
  resting pain in one limb with/without non-healing ulcers and necrotic foot (Rutherford class II-4:


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 32 of 52 Page ID #:457




   n = 3, Ill-5: n = 9, III-6: n = 3) who did not undergo nonsurgical or surgical revascularization.
   ADSCs were isolated from adipose tissue of TAO patients (B-ADSCs), diabetes patients (D-
   ADSCs), and healthy donors (control ADSCs) by using 0.075% collagenase digestion. In a
   colony forming unit (CFU) assay using stromal vascular fraction, B-ADSCs and D-ADSCs
  yielded lesser colonies than normal ADSCs. Results: Culture-expanded B-ADSCs showed
  normal proliferation ability compared to control ADSCs. Adipogenic and osteogenic
  differentiation potential did not differ between B-ADSCs and control ADS Cs. Culture-expanded
  D-ADSCs showed lower proliferation ability and osteogenic differentiation and higher
  adipogenic differentiation than control ADSCs. Multiple intramuscular ADSC injections cause
  no complications during the follow-up period (mean follow-up time: 6 months). Clinical
  improvement occurred in 66.7% of patients. Five patients required minor amputation during
  follow-up. All amputation sites healed completely. At 6 months, significant improvement was
  noted on pain rating scales and in claudication walking distance. Digital subtraction angiography
  (DSA) before and 6 months after ADSC implantation showed formation of numerous vascular
  collateral networks across affected arteries. Conclusion: Multiple intramuscular ADSC injections
  may be a safe alternative to achieve therapeutic angiogenesis in patients with CLI who are
  refractory to other treatment modalities.

  (4) Autologous lipotransfer versus stromal vascular fraction enriched lipoinjectionfor diabetic
  foot wounds healing: a pilot study.

  Journal of Biological Regulators and Homeostatic Agents, 2017, 31 (4 Supplement 1), 141-146

  Vicenti G, Solarino G, Pesce V, Moretti L, Notarnicola A, Carrozzo M, Rifino F, Moretti B.

 ABSTRACT: Chronic ulcers of the lower limbs represent a significant social and economic
 burden. Diabetes is a strong risk factor for development of chronic lesions. Adult stem cells and
 growth factors derived from the adipose tissue are among the most promising therapeutic
 strategies for hard to heal wounds. Fat grafts have been used for several decades to treat soft
 tissue deformities, but despite its excellent characteristics, the outcome was unpredictable, due to
 partial necrosis and resorption of the· graft. Stem cells' enrichment of these grafts or their
 injection into the edges of the ulcers have shown encouraging results in various experimental
 settings. In this pilot study, we compared the standard of care to autologous lipotransfer and
 stromal vascular fraction (SVF) enriched lipoinjection in 30 patients with diabetic foot ulcers,
 showing clear superiority of SVF enriched lipoinjection in terms of percentage of reduction of
 ulcers size and healing time.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 33 of 52 Page ID #:458




  WEB OF SCIENCE

  Arthritis

  (1) Intra-articular injection in the knee ofadipose derived stromal cells (stromal vascular
  fraction) and platelet rich plasma for osteoarthritis.

  Bansal H; Comella K; Leon J; Verma P; Agrawal D; Koka P; Ichim T.

  Journal of Translational Medicine; June 2017 Volume: 15 Article Number: 141.

  ABSTRACT: Stromal vascular :fraction (SVF) can easily be obtained from a mini-lipoaspirate
  procedure of fat tissue and platelet rich plasma (PRP) can be obtained from peripheral blood. We
  evaluated the safety and preliminary efficacy of administering SVF and PRP intraarticularly into
  patients with osteoarthritis grade 1 and 2. Methods: A total of ten patients underwent a local
  tumescent liposuction procedure to remove approximately 100 ml of fat tissue from the
  abdomen. SVF was isolated using an enzyme digestion and re-suspended in PRP for intra-
  articular injection in the knee. The Western Ontario and McMaster Universities Osteoarthritis
  Index (WOMAC) score and six-minute walk distance (6MWD) were used to evaluate clinical
  effects and included measure of patient's subjective assessment of pain, joint mobility, and
  physical disability. WOMAC score, 6MWD and laboratory tests were repeated at 3 and 6 months
  and 1, 1.5 and 2 years. XRAY and MRI were completed at 1 year. Results: The average total
  WOMAC score was 64 at baseline and significantly reduced to 52 at 3 months, 46 at 6 months,
  42 at 1 year, 38 at 1.5 years, and 41 at 2 years. Patients walked an average of 1310 feet at
  baseline and demonstrated a statistically significant improvement at 3 and 6 months and 1, 1.5,
  and 2 years post treatment. Cartilage thickness as determined by MRI improved by at least 0.2
  mm in six patients, was unchanged in two patients and decreased by at least 0.2 mm in two
  patients. Conclusions: Overall, all the patients were pleased with the treatment results. They
  reported a reduction in pain levels, especially after 3 months. More importantly, the procedure
  demonstrated a strong safety profile with no severe adverse events or complications reported.

  (2) Adipose Derived Stromal Cell (ADSC) Injectionsfor Pain Management of Osteoarthritis in
  the Human Knee Joint.

  Fodor, PB; Paulseth, SG.

  Aesthetic Surgery Journal, Feb 2016; Volume: 36, Issue: 2, Pages: 229-236

 ABSTACT: This safety and feasibility study used autologous adipose-derived stromal vascular
 cells (the stromal vascular fraction [SVFJ of adipose tissue), to treat 8 osteoarthritic knees in 6
 patients of grade I to III (K-L scale) with initial pain of 4 or greater on a to-point Visual Analog
 Scale (VAS). Objectives: The primary objective of the study was evaluation of the safety of
 intra-articular injection of SVF. The secondary objective was to assess initial feasibility for
 reduction of pain in osteoarthritic knees. Methods: Adipose-derived SVF cells were obtained

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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 34 of 52 Page ID #:459



  through enzymatic disaggregation of lipoaspirate, resuspension in 3 mL of Lactated Ringer's
  Solution, and injection directly into the intra-articular space oftheknee, with a mean of 14.1
  million viable, nucleated SVF cells per knee. Metrics included monitoring of adverse events and
  preoperative to postoperative changes in the Western Ontario and McMaster Universities
  Arthritis Index (WOMAC), the VAS pain scale, range of motion (ROM), timed up-and-go
  (TUG), and MRI. Results: No infections, acute pain flares, or other adverse events were
  reported. At 3-months postoperative, there was a statistically significant improvement in
  WOMAC and VAS scores (P < .02 and P < .001, respectively), which was maintained at 1 year.
  Physical therapy measurements for ROM and TUG both improved from preoperative to 3-
  months postoperative. Standard MRI assessment from preoperative to 3-months postoperative
  showed no detectable structural differences. All patients attained full activity with decreased
  knee pain. Conclusions: Autologous SVF was shown to he safe and to present a new potential
  therapy for reduction of pain for osteoarthritis of the knee.

  (3) Concentrated adipose tissue infusion for the treatment ofknee osteoarthritis: clinical and
  histological observations.

  Roato I, Belisario DC, Compagno M, Lena A, Bistolfi A, Maccari L, Mussano F, Genova T,
  Godio L, Perale, G.

  International Orthopedics, Jan 2019, 1(43), 15-23

 ABSTRACT: Osteoarthritis (OA) is characterized by articular cartilage degeneration and
 subchondral bone sclerosis. OA can benefit of non-surgical treatments with collagenase-isolated
 stromal vascular fraction (SVF) or cultured-expanded mesenchymal stem cells (ASCs). To avoid
 high manipulation of the lipoaspirate needed to obtain ASCs and SVF, we investigated whether
 articular infusions of autologous concentrated adipose tissue are an effective treatment for knee
 OA patients. Methods: The knee of 20 OA patients was intraarticularly injected with autologous
 concentrated adipose tissue, obtained after centrifugation oflipoaspirate. Patients' articular
 functionality and pain were evaluated by VAS and WOMAC scores at three, six and 18months
 from infusion. The osteogenic and chondrogenic ability of ASCs contained in the injected
 adipose tissue was studied in in vitro primary osteoblast and chondrocyte cell cultures, also
 plated on 3D-bone scaffold. Knee articular biopsies of patients previously treated with adipose
 tissue were analyzed. Immunohistochemistry (IHC) and scanning electron microscopy (SEM)
 were performed to detect cell differentiation and tissue regeneration. Results: The treatment
 resulted safe, and all patients reported an improvement in terms of pain reduction and increase of
 function. According to the osteogenic or chondrogenic stimulation, ASCs expressed alkaline
 phosphatase or aggrecan, respectively. The presence of a layer of newly formed tissue was
 visualized by IHC staining and SEM. The biopsy of previously treated knee joints showed new
 tissue formation, starting from the bone side of the osteochondral lesion. Conclusions: Overall
 our data indicate that adipose tissue infusion stimulates tissue regeneration and might be
 considered a safe treatment for knee OA.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 35 of 52 Page ID #:460




  (4) Limited evidence for adipose-derived stem cell therapy on the treatment of osteoarthritis.

  Hurley ET, Yasui Y, Gianak:os AL, Seow D, Shimozono Y, Kerkhoffs GMMJ, Kennedy JG.

  Knee Surgery, Sports Traumatology, Arthroscopy Nov 2018; 26 (11): 3499-3507

  ABSTRACT: The purpose of this systematic review is to evaluate the effects of adipose derived
  mesenchymal stem cells (ADSCs) in the treatment of osteoarthritis (OA) in the clinical setting.
  Methods: A literature search was performed in the MEDLINE, EMBASE, and The Cochrane
  Library Database up to January 2017 for inclusion and exclusion criteria. Criteria for inclusion
  were clinical studies demonstrating the effects of ADSCs on OA and written in English. The
  following variables were analyzed: donor site, volume of adipose tissue, preparation of ADSCs,
  clinical outcomes, and complication rate. Results: Sixteen studies (knee: 14 studies, multiple
  joints: 1 study, ankle: 1 study) were included in this systematic review. All of the studies
  prepared ADSCs in the form of the stromal vascular fraction (SVF). Inconsistencies between
  studies were found with regards to reported clinical variability, donor sites of SVF, and reported
  clinical outcomes. Nine studies used either platelet-rich plasma (PRP) (7/16) or fibrin (4/16) or
  both PRP and Fibrin (1/16), as an adjunct at time of SVF injection. All of the studies reported an
  improvement in clinical outcomes with the use of SVF. Five studies reported a 90% satisfaction
  rate, and no study reported any complications with liposuction. Five studies reported on
  complications, with a 5% incidence of swelling and pain. Conclusions: This systematic review
  demonstrated that ADSCs are currently used in the form of SVF. While SVF may produce
  favorable clinical outcomes with minimal risk of side effects on osteoarthritis, the variability in
  the data and the use of biological adjuvants have confounded the effectiveness of ADS Cs. This
  study will help surgeons understand the limitations•in the literature on ADSCs. Level of evidence
  Level IV, systematic review of level IV studies.

   (5) Clinical results following intra-articular injection of adipose-derived stromal vascular
  fraction cells in patients with osteoarthritis of the knee.

  Naomasa Yokota, Masayuki Yamakawa, Tomohiko Shirata, Tetsuya Kimura,
  Hideto Kaneshirna.

  Regenerative Therapy 6 (2017) 108e 112; http://dx.doi.org/10.1016/j.reth.2017.04.002

  ABSTRACT: The purpose of this study was to evaluate the clin1cal results following intra-
  articular knee injection of Stromal Vascular Fraction (SVF cell therapy).
  Methods: This study involved 13 consecutive patients who had received SVF cell therapy at our
  clinic before November 2015 and completed the 6-month post-treatment follow-up period. For
  each treatment, approximately 200 rnL or more of subcutaneous adipose tissue was harvested
  using tumescent liposuction technique and manual aspiration of tissue from the lower abdomen
  using a suction cannula under local anesthesia in the operating room. The adipose tissue
  harvested was processed using the Celution Centrifuge IV in the cell processing room of our
  clinic.These cells were injected into the articular cavity of both knees directly. Outcome was
  assessed on the basis of patient questionnaires using VAS for pain, the Japanese Knee
  Osteoarthritis Measure (JKOM), the Western Ontario and McMaster Universities Osteoarthritis


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 36 of 52 Page ID #:461



  Index (WOMAC). Results: The 13 patients (26 knee joints), consisting of 2 men and 11 women,
  had a mean age of 74.5± 5.4 years. Eleven patients (9 women, 2 men) presented Grade IV knee
  OA according to the KL classification. The remaining two patients, both women, had Grade III.
  Pre-operative scores of JKOM, WOMAC, VAS, and BS-POP (for patients) were 55.9 ± 21.0,
  49.6 ± 20.4, 72.7 ± 18.2, and 18.5 ± 2.0. No serious adverse events were reported. One month
  after injection of SVF, all the scores of JKOM, WOMAC, and VAS were significantly improved
  over baseline (P<0.01). Ultimately, the scores were improved by an average of35%over
  baseline for JKOM, 32% improvement in WOMAC, and 40% for pain (VAS). Conclusions:
  Our approach is unique in that it occurred within the context of the recently enacted Japanese
  Regenerative Medicine Safety Act which is the first in the world.

  Spinal cord injury

  (1) lntrathecal transplantation of autologous adipose-derived mesenchymal stem cells for
  treating spinal cord injury: A human trial.

  Hur, JW, Cho, TH, Park, DH, Lee, JB Park, JY Chung, YG.

  Journal of Spinal Cord Medicine; SN 1079-0268, 2016 (39) 6:655-664

  ABSTRACT: Spinal cord injury (SCI) can cause irreversible damage to neural tissues. However,
  there is currently no effective treatment for SCI. The therapeutic potential of adipose-derived
  mesenchymal stem cells (ADMSCs) has been emerged. Objective: We evaluated the effects and
  safety of the intrathecal transplantation of autologous ADMSCs in patients with SCI.
  Participants/Interventions: Fourteen patients with SCI were enrolled (12 for ASIA A, 1 for B,
  and 1 for D; duration of impairments 3-28 months). Six patients were injured at cervical, 1 at
  cervico-thoracic, 6 at thoracic, and 1 at lumbar level. Autologous ADMSCs were isolated from
  lipo-aspirates of patients' subcutaneous fat tissue_and 9 x 10(7) ADMSCs per patient were
  administered intrathecally through lumbar tapping. MRI, hematological parameters,
  electrophysiology studies, and ASIA motor/sensory scores were assessed before and after
  transplantation. Results: ASIA motor scores were improved in 5 patients at 8 months follow-up
  (1-2 grades at some myotomes). Voluntary anal contraction improvement was seen in 2 patients.
  ASIA sensory score recovery was seen in 10, although degeneration was seen in 1. In
  somatosensory evoked potential test, one patient showed median nerve improvement. There was
  no interval change of MRI between baseline and 8 months post-transplantation. Four adverse
  events were observed in three patients: urinary tract infection, headache, nausea, and vomiting.
  Conclusions: Over the 8 months of follow-up, intrathecal transplantation of autologous ADMSCs
  for SCI was free of serious adverse events, and several patients showed mild improvements in
  neurological function. Patient selection, dosage, and delivery method of ADMSCs should be
  investigated further.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 37 of 52 Page ID #:462



  Diabetes

  (1) Accelerated healing of a diabetic foot ulcer using autologous stromal vascular fraction
  suspended in platelet-rich plasma.

  Didangelos T., Kolia.kos G., Kouzi K., Arsos G., Kotzampassi K., Tziomalos K., Karamanos D.,
  Hatzitolios A.

  Regenerative Medicine: Vol: 13, Issue: 3, Pages: 277-281, DOI: 10.2217/rme-2017-0069, April
  2018

  ABSTRACT: We describe the case of a Type I diabetic patient with a refractory foot ulcer that
  remained unhealed for 2 years despite conventional therapy. Autologous adipose-derived stromal
  vascular fraction suspended in autologous platelet-rich plasma was applied to the wound, which
  completely healed within I month. The wound remained closed with no complications      for    a 2-
  year follow-up. Reporting of this and similar cases may lead to larger clinical trials that will
  prove the efficacy of this therapy that may offer accelerated healing and lessen the.financial
  burden of more expensive therapeutic modalities.

  (2) Co-infusion of insulin-secreting adipose tissue-derived mesenchymal stem cells and
  hematopoietic stem cells: novel approach to management of type 1 diabetes mellitus.

  Thakkar, U. G.; Trivedi, H. L.; Vanikar, A. V.; et al.

  International Journal of Diabetes in Developing Countries; Volume: 36, Issue: 4, Pages: 426-
  432, Dec 2016

 ABSTRACT: Stem cell therapy (SCT) has promising results in regeneration of injured
 tissues/cells as well as correcting immune dysregulation. We present our experience of co-
 infusion of human adipose tissue-derived insulin-secreting mesenchymal stem cells (IS-AD-
 MSC) along with bone marrow-derived hematopoietic stem cells (BM-HSC) in type 1 diabetes
 mellitus (TlDM). This was an institutional review board-approved prospective non-randomized
 open-labeled clinical trial after informed consent of20 patients (15 males and 5 females) with
 TlDM for SCT, with mean disease duration of 9 +/- 5.51 years. Their mean age and weight were
  19.95 +/- 8.35 years and 49.9 +/- 14 kg, respectively. Our study includes T lDM with positive for
 glutamic acid decarboxylase (GAD) antibody and history of diabetic ketoacidosis (DKA).
 Generated IS-AD-MSC and BM-HSC were infused via femoral catheterization under local
 anesthesia into portal + thymic circulation and subcutaneous tissue with conditioning of injection
 rabbit anti-thymocyte globulin and Bortezomib. Patients were monitored for blood sugar, serum
 C-peptide, GAD antibodies, and glycosylated hemoglobin (HblAc) at three monthly intervals
 post-therapy. Mean SC quantum infused 99.45 +/- 22.CD45-/90+ and CD45-/73+ were 47.22
 and 24.66 %, respectively. Generated ISCs expressed transcription factors ISL-1, PAX-6, and
 IPF-1. Variable a5 mL, with mean 2.38 +/- 0.78 x 10(4) ISC/mu L, mean CD34+ 0.57 %, and
 mean sustained improvement in mean FBS, PPBS, HbAlc, and serum C-peptide was noted over
 a mean follow-up of 43.94 +/- 19.8 months with mean reduction of GAD antibody from 525.15
 to 120.15 IU/mL. Mean insulin requirement decreased from 60.89 to 39.76 IU/day. There was


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 38 of 52 Page ID #:463




  absence of DK.A after SCT. No untoward effect/morbidity/mortality was recorded from SCT.
  Co-infusion ofIS-AD-MSC with BM-HSC offers a safe and viable therapy for TIDM.


  PUBMED

  Arthritis

  (1) Clinical results and second-look arthroscopic findings after treatment with adipose-derived
  stem cells for knee osteoarthritis.

  Koh YG, Choi YJ, Kwon SK, Kim YS, Yeo JE.

  Knee Surg Sports Traumatol Arthrosc. 2015 May;23(5):1308-16.

  ABSTRACT: In the present study, the clinical outcomes and second-look arthroscopic findings
  of intra-articular injection of stem cells with arthroscopic lavage for treatment of elderly patients
  with knee osteoarthritis (OA) were evaluated. METHODS: Stem cell injections combined with
  arthroscopic lavage were administered to 30 elderly patients ~65 years) with knee OA.
  Subcutaneous adipose tissue was harvested from both buttocks by liposuction. After stromal
  vascular fractions were isolated, a mean of 4.04 x 10(6) stem cells (9.7 % of 4.16 x 10(7)
  stromal vascular fraction cells) were prepared and injected in the selected knees of patients after
  arthroscopic lavage. Outcome measures included the Knee Injury and Osteoarthritis Outcome
  Scores, visual analog scale, and Lysholm score at preoperative and 3-, 12-, and 2-year follow-up
 visits . .Sixteen patients underwent second-look arthroscopy. RESULTS: Almost all patients
 showed significant improvement in all clinical outcomes at the final follow-up examination. All
 clinical results significantly improved at 2-year follow-up compared to 12-month follow-up (P <
 0.05). Among elderly patients aged >65 years, only five patients demonstrated worsening of
 Kellgren-Lawrence grade. On second-look arthroscopy, 87.5 % of elderly patients (14/16)
 improved or maintained cartilage status at least 2 years postoperatively. Moreover, none of the
 patients underwent total knee arthroplasty during this 2-year period. CONCLUSION: Adipose-
 derived stem cell therapy for elderly patients with knee OA was effective in cartilage healing,
 reducing pain, and improving function. Therefore, adipose-derived stem cell treatment appears to
 be a good option for OA treatment in elderly patients. LEVEL OF EVIDENCE: Therapeutic case
 series study.

  (2) Autologous stromal vascular fraction therapy for rheumatoid arthritis: rationale and
 clinical safety.

 Rodriguez JP, Murphy MP, Hong S, MadrigalM, March KL, Minev B, Harman RJ, Chen CS,
 Timmons RB, Marleau AM, Riordan NH.

 Int. Arch Med. 2012 Feb 8;5:5. doi: 10.l 186/1755-7682-5-5.



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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 39 of 52 Page ID #:464




  ABSTRACT: Advancements in rheumatoid arthritis (RA) treatment protocols and introduction
  of targeted biological therapies have markedly improved patient outcomes, despite this, up to
  50% of patients still fail to achieve a significant clinical response. In veterinary medicine, stem
  cell therapy in the form of autologous stromal vascular fraction (SVF) is an accepted therapeutic
  modality for-degenerative conditions with 80% improvement and no serious treatment associated
  adverse events reported. Clinical translation of SVF therapy relies on confirmation of veterinary
  findings in targeted patient populations. Here we describe the rationale and preclinical data
  supporting the use of autologous SVF in treatment of RA, as well as provide 1-, 3-, 6-, and 13-
  month safety outcomes in 13 RA patients treated with this approach.

  (3) Adipose Mesenchymal Stromal Cell-Based Therapy/or Severe Osteoarthritis of the Knee:
  A Phase I Dose-Escalation Trial.

  Pers YM, Rackwitz L, Ferreira R, Pullig 0, Delfour C, Barry F, Sensebe L, Casteilla L, Fleury S,
  Bourin P, Noel D, Canovas F, Cyteval C, Lisignoli G, Schrauth J, Haddad D, Domergue S,
  Noeth U, Jorgensen C; ADIPOA Consortium.

  Stem Cells Transl Med. 2016 Jul;5(7):847-56. doi: 10.5966/sctm.2015-0245. Epub 2016 May 23.

  ABSTRACT: Osteoarthritis (OA) is the most widespread musculoskeletal disorder in adults. It
  leads to cartilage damage associated with subchondral bone changes and synovial inflammation,
  causing pain and disability. The present study aimed at evaluating the safety of a dose-escalation
  protocol of intra-articular injected adipose-derived stromal cells (AS Cs) in patients with knee
  OA, as well as clinical efficacy as secondary endpoint. A bi-centric, uncontrolled, open phase I
  clinical trial was conducted in France and Germany with regulatory agency approval for ASC
  expansion procedure in both countries. From April 2012 to December 2013, 18 consecutive
  patients with symptomatic and severe knee OA were treated with a single intra-articular injection
  of autologous ASCs. The study design consisted of three consecutive cohorts (six patients each)
  with dose escalation: low dose (2 x 10(6) cells), medium dose (10 x 10(6)), and high dose (50 x
  10(6)). The primary outcome parameter was safety evaluated by recording adverse events
  throughout the trial, and secondary parameters were pain and function subscales of the Western
  Ontario and McMaster Universities Arthritis Index. After 6 months of follow-up, the procedure
  was found to be safe, and no serious adverse events were reported. Four patients experienced
  transient knee joint pain and swelling after local injection. Interestingly, patients treated with
  low-dose ASCs experienced significant improvements in pain levels and function compared with
  baseline. Our data suggest that the intra-articular injection of ASCs is a safe therapeutic
  alternative to treat severe knee OA patients. A placebo-controlled double-blind phase Ilb study is
  being initiated to assess clinical and structural efficacy. SIGNIFICANCE: Although this phase I
  study included a limited number of patients without a placebo arm, it showed that local injection
  of autologous adipose-derived stem cells was safe and well tolerated in patients with knee
  osteoarthritis. This study also provides encouraging preliminary evidence of efficacy. Larger and


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 40 of 52 Page ID #:465



  controlled long-term studies are now mandatory to confirm whether this new strategy of cell
  therapy can improve pain and induce structural benefit in osteoarthritis.

  (4) Adipose-Derived Mesenchymal Stem Cells with Microfracture Versus Microfracture
  Alone: 2-Year Follow-up of a Prospective Randomized Trial.

  Koh YG, Kwon OR, Kim YS, Choi YJ, Tak DH.

  Arthroscopy. 2016 Jan;32(1):97-109. doi: 10.1016/j.arthro.2015.09.010.

  ABSTRACT: To compare the clinical and radiologic efficacy of adipose-derived stem cells
  (ADSCs) with fibrin glue and micro-fracture (MFX) versus MFX alone in patients with
  symptomatic knee cartilage defects. METHODS: Patients who were aged 18 to 50 years and had
  a single International Cartilage Repair Society grade III/IV symptomatic cartilage defect (~3
  cm2) on the femoral condyle were randomized to receive ADSCs with fibrin glue and MFX
  treatment (group 1, n = 40) or MFX treatment alone {group 2, n = 40). There was a lack of
  blinding for patients because of the additional intervention method (liposuction). The cartilage
  defect was diagnosed using preoperative magnetic resonance imaging (MRI), and quantitative
  and qualitative assessments of the repair tissue were carried out at 24 months by using the
  Magnetic Resonance Observation of Cartilage Repair Tissue scoring system with follow:.up
  MRI. Clinical results were evaluated using the Lysholm score, the Knee Injury and Osteoarthritis
  Outcome Score (KOOS), and a 10-point visual analog scale for pain (0 points, no pain; 10
 points, worst possible pain) preoperatively and postoperatively at 3 months, 12 months, and the
 last follow-up visit. RESULTS: The 2 groups had similar baseline patient characteristics.
 Follow-up MRI was performed at 24 months (mean, 24.3 months; range, 24.0 to 25.1 months)
 after the operation. Group 1 included 26 patients (65%) who had complete cartilage coverage of
 the lesion at follow-up compared with 18 patients (45%) in group 2. Significantly better signal
 intensity was observed for the repair tissue in group 1, with 32 patients (80%) having normal or
 nearly normal signal intensity (i.e., complete cartilage coverage of the lesion) compared with 28
 patients (72.5%) in group 2. The mean clinical follow-up period was 27.4 months (range 26 to
 30 months). The improvements in the mean KOOS pain and symptom sub-scores were
 significantly greater at follow-up in group 1 than in group 2 (pain, 36.6 ± 11 .9 in group I and
 30.1 ± 14.7 in group 2 [P = .034]; symptoms, 32.3 ± 7.2 in group 1 and 27.8 ± 6.8 in group 2 [P
 = .005]). However, the improvements in the other sub-scores were not significantly different
 between group 1 and group 2 (activities of daily living, 38.5 ± 12.8 and 37.6 ± 12.9, respectively
 [P = . 767]; sports and recreation, 33.9 ± 10.3 and 31.6 ± 11.0, respectively [P = .338]; quality of
 life, 38.4 ± 13.1 and 37.8 ± 12.0, respectively [P = .650]). Among the 80 patients, second-look
 arthroscopies were performed in 57 knees (30 in group 1 and 27 in group 2)~ and biopsy
 procedures were performed during these arthroscopies for 18 patients in group 1 and 16 patients
 in group 2. The second-look arthroscopies showed good repair tissue quality, although no
 significant intergroup difference was observed. The mean total histologic score was 1,054 for
 group 1 compared with 967 for group 2 (P = .036). Age, lesion size, duration of symptoms

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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 41 of 52 Page ID #:466




  before surgery, mechanism of injury, and combined procedures were not correlated with clinical
  results, Magnetic Resonance Observation of Cartilage Repair Tissue scores, and histologic
  outcomes at short-term follow-up. CONCLUSIONS: Compared with MFX alone, MFX and
  ADSCs with fibrin glue provided radiologic and KOOS pain and symptom sub-score
  improvements, with no differences in activity, sports, or quality-of-life sub-scores, in
  symptomatic single cartilage defects of the knee that were 3cm2 or larger, with similar structural
  repair tissue.

  (5) Intra-articular injection of mesenchymal stem cells for the treatment ofosteoarthritis of
  the knee: a proof-of-concept clinical trial.

  Jo CH, Lee YG, Shin WH, Kim H, Chai JW, Jeong EC, Kim JE, Shim H, .Shin JS, Shin IS, Ra
  JC, Oh S, Yoon KS.

  Stem Cells. 2014 May;32(5):1254-66. doi: 10.1002/stem.1634.

  ABSTRACT: Mesenchymal stem cells(MSCs) are known to have a potential for articular
  cartilage regeneration. However, most studies focused on focal cartilage defect through surgical
  implantation. For the treatment of generalized cartilage loss in osteoarthritis, an alternative
  delivery strategy would be more appropriate. The purpose of this study was to assess the safety
  and efficacy of intra-articular injection of autologous adipose tissue derived MSCs (AD-MSCs)
  for knee osteoarthritis. We enrolled 18 patients with osteoarthritis of the knee and injected AD
  MSCs into the knee. The phase I study consists of three dose-escalation cohorts; the low-dose
  (1.0 x 10(7) cells), mid-dose (5.0 x 10(7)), and high-dose (1.0 x 10(8)) group with three patients
  each. The phase II included nine patients receiving the high-dose. The primary outcomes were
  the safety and the Western Ontario and McMaster Universities Osteoarthritis index (WOMAC)
  at 6 months. Secondary outcomes included clinical, radiological, arthroscopic, and histological
  evaluations. There was no treatment-related adverse event. The WOMAC score improved at 6
  months after injection in the high-dose group. The size of cartilage defect decreased while the
  volume of cartilage increased in the medial femoral and tibial condyles of the high-dose group.
  Arthroscopy showed that the size of cartilage defect decreased in the medial femoral and medial
  tibial condyles of the high-dose group. Histology demonstrated thick, hyaline-like cartilage
  regeneration. These results showed that intra-articular injection of 1.0 x 10(8) AD MSCs into the
  osteoarthritic knee improved function and pain of the knee joint without causing adverse events,
  and reduced cartilage defects by regeneration ofhyaline-like articular cartilage.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 42 of 52 Page ID #:467




  (6) Infrapatellar fat pad-derived mesenchymal stem cell therapy for knee osteoarthritis.

  Koh YG, Choi YJ.

  Knee. 2012 Dec;19(6):902-7. Epub 2012 May 14.

  ABSTRACT: The aim of the study was to determine if isolated mesenchymal stem cells (MSCs)
  derived from the infrapatellar fat pad could effectively improve clinical results when
  percutaneously injected into arthritic knees. LEVEL OF EVIDENCE: Therapeutic case-control
  study. METHODS: Twenty-five stem cell injections combined with arthroscopic debridement
  were administered to patients with knee OA. A mean of 1.89 x 10(6) stem cells were prepared
  with approximately 3.0 mL of platelet-rich plasma (PRP) and injected in the selected knees of
  patients in the study group. RESULTS: The mean Lysholm, Tegner activity scale, and VAS
  scores of patients in the study group improved significantly by the last follow-up visit. No major
  adverse events related to the injections were observed during the treatment and follow-up
  periods. The results were compared between the study and control groups, in which the patj.ents
  had undergone arthroscopic debridement and PRP injection without stem cells. Although the
  preoperative mean Lysholm, Tegner activity scale, and VAS scores of the study group were.
  significantly poorer than those of the control group, the clinical results at the last follow-up visit
  were similar and not significantly different between the two groups. CONCLUSIONS: The
  short-term results of our study are encouraging and demonstrate that infrapatellar fat pad-derived
  MSC therapy with intraarticular injections is safe and provides assistance in reducing pain and
  improving function in patients with knee OA.


  (7) The use ofstromal vascularfraction (SVF), platelet-rich plasma (PRP) and stem cells in
  the treatment of osteoarthritis: an overview of clinical trials.

  Mehranfar S, Abdi Rad I, Mostafav E, Akbarzadeh A.

  Artif Cells Nanomed Biotechnol; March 2019; 47(1):882-890.

  ABSTRACT: Osteoarthritis (OA) is a major cause of disability across the world, which its
  prevalence is relatively high in elder population. Current accepted therapies such as exercise,
  anti-inflammatory drugs and intra-articular inoculation of corticosteroids are aimed at controlling
  symptoms in the affected patients. Surgical options including arthroplasty, osteotomy and joint
  replacement are other choices of treatment, which are invasive and can be applied in case of
  failure of conventional therapies. In the last few decades, efforts to treat musculoskeletal diseases
  are being increasingly focused on regenerative cellular therapies. S:tromal vascular fraction
  (SVF), which obtained from adipose tissue, contains a variety of cells include mesenchymal stem
  cells (MSCs) and has shown to be effecHve in cartilage repair. Autologous blood products such
  as platelet-rich plasma (PRP) act as an adjuvant of surgical treatment and its intra-articular
  delivery has shown beneficial effects for OA treatment. Given the efficacy of such treatment

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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 43 of 52 Page ID #:468




  approaches in OA, this paper discusses both preclinical and clinical evidence with major focus
  on clinical trials.

  (8) Stromal Vascular Fraction cell therapy for osteoarthritis in elderly: multicenter case-
  control study.

  Michalek J, Vrablikova A, Darinskas, Lukac L, Prucha, J, Skopalik J, Travnik J, Cibulka M,
  Dudasova, Z.

  J Clin Orthop Trauma, Jan 2019;10(1):76-80.

  ABSTRACT: no abstract included; a cohort of29 patients were-treated with SVF with some
  improvement in pain scores.

  (9) Stromal Vascular Fraction cells of adipose and connective tissue in people with
  osteoarthritis: a case control prospective, multi-centric non-randomized study.

  Michalek J, Moster R, Lukac L, Proefrock K, Petrasovic M, Rubar J, Chaloupka A, Darinskas A,
  Kristek J, Travnik J, Jabandziev P, Cibulka M, Skopalik J, Kristk.ova Z, Dudasova, Z.

  Global Surgery, May 2017, 3(3):1-9. Doi: 10.15761/GOS.1000163

  ABSTRACT: Stromal vascular fraction (SVF), containing high amount of stem cells and other
  regenerative cells, can be easily obtained from loose connective tissue that is associated with
  adipose tissue. Here we evaluated safety and clinical efficacy of freshly isolated autologous SVF
  cells in a case control prospective multi-centric non-randomized study in patients with grade 2-4
  degenerative osteoarthritis. Methods: A total of 1128 patients underwent standard liposuction
  under local anesthesia and SVF cells were isolated and prepared for application into 1-4 large
  joints. A total of 1856 joints, mainly knee and hip joints, were treated with a single dose of SVF
  cells. 1114 patients were followed for 12.1-54.3 months (median 17.2 months) for safety and
  efficacy. Modified KOOS/HOOS Clinical Score was used to evaluate clinical effect and was
  based on pain, non-steroid analgesic usage, limping, extent of joint movement, and joint stiffness
  evaluation before and at 3,6 and 12 months after the treatment. Results: No serious side effects,
  systemic infection or cancer was associated with SVF cell therapy. Most patients gradually
  improved 3-12 months after the treatment. At least 75% Score improvement was noticed in 63%
  of patients and at least 5 0% Score improvement was documented in 91 % of patients 12 months
  after SVF cell therapy. Obesity and higher grade of OA were associated with slower healing.
  Conclusion: Here we report a novel and promising treatment approach for patients with
  degenerative osteoarthritis that is safe, cost-effective, and relying only on autologous cells.




                                                                                                   18
Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 44 of 52 Page ID #:469




  Multiple Sclerosis

  (1) Adipose-derived mesenchymal stem cells (AdMSC) for the treatment ofsecondary-
  progressive multiple sclerosis: A triple blinded, placebo controlled, randomized phase Jill
  safety andfeasibility study.

  Fernandez 0, Izquierdo G, Fernandez V, Leyva L, Reyes V, Guerrero M, Leon A, Amaiz C,
  Navarro G, Paramo MD, Cuesta A, Soria B, Hmadcha A, Pozo D, Fernandez-Montesinos R,
  Leal M, Ochotorena I, Galvez P, Geniz MA, Baron FJ, Mata R, Medina C, Caparros-Escudero C,
  Cardesa A, Cuende N, on behalf of the Research Group Study EudraCT.

  PLoS One. 2018 May 16;13(5): e0195891. doi: 10.1371/joumal.pone.0195891.

  ABSTRACT: Currently available treatments for secondary progressive multiple sclerosis
  (SPMS) have· limited efficacy and/or safety concerns. Adipose-mesenchymal derived stem cells
  (AdMSCs) represent a promising option and can be readily obtained using minimally invasive
  procedures. In this triple-blind, placebo-controlled study, cell samples were obtained from
  consenting patients by lipectomy and subsequently expanded. Patients were randomized to a
  single infusion of placebo, low-dose(lx106cells/kg) or high-dose(4x106cells/kg) autologous
  AdMSC product and followed for 12 months. Safety was monitored recording adverse events,
  laboratory parameters, vital signs and spirometry. Expanded disability status score (EDSS),
  magnetic-resonance-imaging, and other measures of possible treatment effects were also
  recorded. Thirty-four patients underwent lipectomy for AdMSCs collection, were randomized
  and thirty were infused ( 11 placebo, 10 low-dose and 9 high-dose); 4 randomized patients were
  not infused because ofkaryotype abnormalities in the cell product. Only one serious adverse
  event was observed in the treatment arms (urinary infection, considered not related to study
  treatment). No other safety parameters showed changes. Measures oftreatment effect showed an
  inconclusive trend of efficacy. Infusion of autologous AdMSCs is safe and feasible in patients
  with SPMS. Larger studies and probably treatment at earlier phases would be needed to
  investigate the potential therapeutic benefit of this technique.

  Diabetes

  (1) Novel therapy for insulin-dependent diabetes mellitu.s: infusion of in vitro-generated
  insulin-secreting cells.

  Dave SD, Vanikar AV, Trivedi HL, Thakkar UG, Gopal SC, Chandra T.

  Clin Exp Med. 2015 Feb;15(1):41-5. doi: 10.1007/s10238-013-0266-l. Epub 2013 Dec 7

  ABSTRACT: Insulin-dependent diabetes mellitus (IDDM) is a metabolic disease usually
  resulting from autoimmune-mediated P-cell destruction requiring lifetime exogenous insulin
  replacement. Mesenchymal stem cells (MSC) hold promise as a therapy. We present our
  experience of treating IDDM with co-infusion of in vitro autologous adipose tissue-derived
  MSC-differentiated insulin-secreting cells (ISC) with hematopoietic stem cells (HSC). This was
  an Institutional Review Board approved prospective non-randomized open-labeled clinical trial


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 45 of 52 Page ID #:470



   after informed consent from ten patients. ISC were differentiated from autologous adipose tissue-
   derived MSC and were infused with bone marrow-derived HSC in portal, thymic circulation by
   mini-laparotomy and in subcutaneous circulation. Patients were monitored for blood sugar
   levels, serum C-peptide levels, glycosylated hemoglobin (HblAc) and glutamic acid
   decarboxylase (GAD) antibodies. Insulin administration was made on sliding scale with an
   objective ofmairitaining FBS < 150 mg/dL and PPBS around 200 mg/dL. Mean 3.34 tnL cell
   inoculums with 5.25 x 10(4) cells/µL were infused. No untoward effects were observed. Over a
   mean follow-up of 31.71 months, mean serum C-peptide of 0.22 ng/mL before infusion had
  -sustained rise of 0.92 ng/mL with decreased exogenous insulin requirement from 63.9
  international units (IU)/day to 38.6 IU/day. Improvement in mean HblAc was observed from
   10.99 to 6. 72%. Mean GAD antibodies were positive in all patients with mean of 331.10 IU/mL,
  which decreased to mean of 123 IU/mL. Co-infusion of autologous ISC with HSC represents a
  viable novel therapeutic option for JDDM.


  (2) Insulin-secreting adipose-derived mesenchymal stromal cells with bone marrow-derived
  hematopoietic stem cells from autologous and allogenic sources for type 1 diabetes mellitus.

  Thakkar UG, Trivedi HL, Vanikar AV, Dave SD.

  Presented at 2015 International Society for Cellular Therapy. Published by Elsevier Inc.

  ABSTRACT: Stem cell therapy (SCT) is now the up-coming therapeutic modality for treatment
  of type 1 diabetes mellitus (TlDM). Methods: Our study was a prospective, open-labeled, two-
  armed trial for 10 TlDM patients in each arm of allogenic and autologous adipose-derived
  insulin-secreting mesenchymal stromal cells (IS-AD-MSC)+ bone marrow-derived
  hematopoietic stem cell (BM-HSC) infusion. Group l received autologous SCT: nine male
  patients and one female patient; mean age, 20.2 years, disease duration 8.1 years; group 2
  received allogenic SCT: six male patients and four female patients, mean age, 19. 7 years and
 disease duration, 7.9 years. Glycosylated hemoglobin (HbAlc) was 10.99%; serum (S.) C-
 peptide, 0.22 ng/mL and insulin requirement, 63.9 IU/day in group 1;HbAlc was 11.93%, S.C-
 peptide, 0.028 ng/mL and insulin requirement, 57.55 IU/day in group 2. SCs were infused into
 the portal+thymic circulation and subcutaneous tissue under nonmyeloablative conditioning.
 Patients were monitored for blood sugar, S.C-peptide, glutamic acid decarboxylase antibodies
 and HbAlc at 3-month intervals. Results: Group 1 received mean SCs 103.14 mL with 2.65 ±
 0.8 x 10(4) ISCs/kgbody wt., CD34+ 0.81% and CD45-/90+/73+, 81.55%. Group 2 received
 mean SCs 95.33 mL with 2.07 ± 0.67 x 10(4) ISCs/kg body wt, CD34+ 0.32% and CD45-
 /90+/73+ 54.04%. No untoward effect was observed with sustained improve ment in HbAlc and
 S.C-peptide in both groups with a decrease in glutamic acid decarboxylase antibodies and
 reduction in mean insulin requirement. SCT is a safe and viable treatment option for TlDM.
 Autologous IS-AD-MSC+ BM-HSC co-infusion offers better long-term control of
 hyperglycemia as compared with allogenic SCT.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 46 of 52 Page ID #:471




  Stroke

  Search for "stroke" resulted in finding few reported investigations (shown below) related to the
  treatment of cardiomyopathy.

  (1) Effects ofthe intramyocardial implantation ofstromal vascular fraction in patients with
  chronic ischemic cardiomyopathy.

  Comella K, Parcero J, Bansal H, Perez J, Lopez J, Agrawal A, Ichim T.

  J Transl. Med. 2016 Jun 2;14(1):158. doi: 10.1186/s12967-016-0918-5

  ABSTRACT: Stromal vascular fraction (SVF) can easily be obtained from a mini-lipoaspirate
  procedure of fat tissue. The SVF contains a mixture of cells including ADS Cs and growth factors
  and has been depleted of the adipocyte (fat cell) population. We evaluated the safety and efficacy
  of administering SVF intramyocardially into patients with chronic ischemic cardiomyopathy. A
  total of28 patients underwent a local tumescent liposuction procedure to remove approximately
  60 ml of fat tissue. The fat was separated to isolate the SVF and the cells were delivered into the
  akinetic myocardial scar region using a trans-endocardial delivery system (MyoCath®) in
  patients who had experienced a previous myocardial infarct. The subjects were then monitored
  for adverse events, ejection fraction via echocardiogram and six-minute walk test (6MWT) over
  a period of 6 months. Results: The average EF was 29% at baseline and significantly increased to
  35% at both 3 and 6 months. Patients walked an average of 349 mat baseline· and demonstrated a
  statistically significant improvement at 3- and 6-months' post treatment of more than 80 m.
  Conclusions: Overall, patients were pleased with the treatment results. More importantly, the
  procedure demonstrated a strong safety profile with no severe adverse events or complications
  linked to the therapy.

  (2) The Athena trials: Autologous adipose-derived regenerative cells for refractory chronic
  myocardial ischemia with left ventricular dysfunction.

  Henry TD, Pepine CJ, Lambert CR, Traverse JH, Schatz R, Costa M, Povsic TJ, David Anderson
  R, Willerson JT, Kesten S, Perin EC.

  Catheter Cardiovasc Interv, 2017 Feb 1;89(2):169-177. doi: 10.1002/ccd.26601. Epub 2016 Sep
  23

  ABSTRACT: To assess safety and feasibility of autologous adipose-derived regenerative cells
  (ADRCs), for treatment of chronic ischemic cardiomyopathy patients. Preclinical and early
  clinical trials suggest ADRCs have excellent potential for ischemic conditions. The Athena
  program consisted of two parallel, prospective, randomized (2:1, active: placebo), double-blind
  trials assessing intramyocardial (IM) ADRC delivery [40-million, n =28 (ATRENA) and 80-
  million (ATHENA II) cells, n = 3]). Patients with an EF ~20% but ::;45%, m .ultivessel coronary
  artery disease (CAD) not amenable to revascularization, inducible ischemia, and symptoms of
  either angina (CCS II-IV) or heart failure (NYHA Class II-III) on maximal medical therapy were
  enrolled. All patients underwent fat harvest procedure (::;450 mL adipose), on-site cell processing


                                                                                                  21
Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 47 of 52 Page ID #:472




  (Celution® System, Cytori Therapeutics), electromechanical mapping, and IM delivery of
  ADRCs or placebo. Results: Enrollment was terminated prematurely due to rion-ADRC-related
  adverse events and subsequent prolonged enrollment time. Thirty-one patients (17-ADRCs, 14-
  placebo) mean age 65 ± 8 years, baseline LVEF (%) 31.1 ± 8.7 (ADRC), 31.8± 7.7 (placebo)
  were enrolled. Change in V02 max favored ADRCs (+45.4± 222 vs. -9.5 ± 137 mL/min) but
  there was no difference in left ventricular function or volumes. At 12-months, heart failure
  hospitalizations occurred in 2/17 (11.7%) [ADRC] and 3/14 (21.4%) (placebo]. Differences in
  NYHA and CCS classes favored ADRCs at 12-months with significant improvement in MLHFQ
  (-21.6 + 13.9 vs. -5.5+ 23.8, P = 0.038). Conclusions: A small volume fat harvest, automated
  local processing, and IM delivery of autologous ADRCs is feasible with suggestion of benefit in
  "no option" CAD patients. Although the sample size is limited, the findings support feasibility
  and scalability for treatment of ischemic cardiomyopathy with ADRCs.


  Multiple Sclerosis

  (1) Stem cell treatment/or patients with autoimmune disease by systemic infusion of culture-
  expanded autologous adipose tissue derived mesenchymal stem cells.

  Ra JC, Kang SK, Shin IS, Park HG, Joo SA, Kim JG, Kang BC, Lee YS, Nakama K, .Piao M,
  Sohl B, Kurtz A.

  J Transl Med. Oct 2011; 9: 181. doi: lo: l 186/1479-5876-9:-l 81.

  ABSTRACT: Prolonged life expectancy, life style and environmental changes have caused a
  changing disease pattern in developed countries towards an increase of degenerative and
  autoimmune diseases. Stem cells have become a promising tool for their treatment by promoting
  tissue repair and protection from immune-attack associated damage. Patient-derived autologous
  stem cells present a safe option for this treatment since these will not induce immune rejection
  and thus multiple treatments are possible without any risk for allogenic sensitization, which may
  arise from allogenic stem cell transplantations. Here we report the outcome of treatments with
  culture expanded human adipose-derived mesenchymal stem cells (hAdMSCs) of 10 patients
  with autoimmune associated tissue damage and exhausted therapeutic options, including
  autoimmune hearing loss, multiple sclerosis, polymyositis, atopic dermatitis and rheumatoid
  arthritis. For treatment, we developed a standardized culture-expansion protocol for hAdMSCs
  from minimal amounts of fat tissue, providing sufficient number of cells for repetitive injections.
  High expansion efficiencies were routinely achieved from autoimmune patients and from elderly
  donors without measurable loss in safety profile, genetic stability, vitality and differentiation
  potency, migration and homing characteristics. Although the conclusions that can be drawn from
  the compassionate use treatments in terms of therapeutic efficacy are only preliminary, the data
  provide convincing evidence for safety and therapeutic properties of systemically administered_
  AdMSC in human patients with no other treatment options. The authors believe that ex-vivo-
  expanded autologous AdMSCs provide a promising alternative for treating autoimmune diseases.


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 48 of 52 Page ID #:473




  Further clinical studies are needed that take into account the results obtained from case studies as
  those presented here.

  Macular degeneration

  (1) Preliminary study on electrophysiological changes after cellular autograft in age-related
  macular degeneration.

  Limoli PG, Vingolo EM, Morales MU, Nebbioso M, Limoli C.

  Medicine (Baltimore). 2014 Dec;93(29): e355. doi: 10.1097

  ABSTRACT: Evolving atrophic macular degeneration represents at least 80% of all macular
  degenerations and is currently without a standardized care. Autologous fat transplantation
  efficacy was demonstrated by several studies, as these cells are able to produce growth factors.
  The aim of the work was to demonstrate possible therapeutic effect of the joined suprachoroidal
  graft of adipocytes, adipose-derived stem cells (ADSCs) in stromal vascular fractions (SVFs) of
  adipose tissue, and platelet-rich plasma (PRP). Twelve eyes in 12 dry age-related macular
  degeneration (AMD) patients, aged 71.25 (SD± 6.8) between 62 and 80 years, were analyzed. A
  complete ocular evaluation was performed using best corrected visual acuity (BCVA),
  retinographic analysis, spectral-domain optical coherence tomography, microperimetry,
  computerized visual field, and standard electroretinogram (ERG). Each eye received a cell in
  graft between choroid and sclera of mature fat cells and ADSCs in SVF enriched with PRP by
  means of the variant second Limoli (Limoli retinal restoration technique [LRRT]). In order to
  test if the differences pre- and post-treatment were significant, the Wilcoxon signed-rank test has
  been performed. Adverse effects were not reported in the patients. After surgery with LRRT, the
  most significant increase in the ERG values was recorded by scotopic rod-ERG (answer coming
  from the rods), from 41.26 to 60.83 µV with an average increase of 47.44% highly significant (P
  < 0.05). Moderately significant was the one recorded by scotopicmaximal ERG (answer coming
  from the rods and cones), from 112.22 to 129.68 µV with an average increase of 15.56% (P <
  0.1). Cell-mediated therapy based on growth factors used appears interesting because it can
  improve the retinal functionality responses in the short term. The ERG could, therefore, be used
  to monitor the effect of cell-mediated regenerative therapies.

  (2) Cell surgery and growth factors in dry age-related macular degeneration: visual prognosis
  and morphological study.

  Limoli PG, Limoli C, Vingolo EM, Scalinci SZ, Nebbioso M.

  Oncotarget. 2016 Jul 26;7(30):46913 -46923. doi : 10.18632/oncotarget.l 0442.

  ABSTRACT: The aim of this research was to study the overall restoration effect on residual
  retinal cells through surgically grafted autologous cells onto the surrounding tissue, choroid and
  retina in order to produce a constant secretion of growth factors (GFs) in dry age-related macular
  degeneration (AMD) patients. Thirty-six eyes of 25 patients (range 64-84 years of age) affected
  by dry AMD were included in study and divided in two groups by spectral domain-optical


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 49 of 52 Page ID #:474




  coherence tomography (SD-OCT): group A with retinal thickness average (RTA) less than 250
  microns (µm) and group B with RTA equal to or more than250 µm. Adipocytes, adipose:..
  derived stem cells from the stromal-vascular fraction, and platelets from platelet-rich plasma
  were implanted in the suprachoroidal space. Particularly, the following parameters were
  evaluated: best corrected visual acuity (BCVA) for far and near distance, retinal thickness maps,
  scotopic and photopic electroretinogram (ERG), and microperimetry (MY). All statistical
  analyses were performed with STATA 14.0 (Collage Station, Texas, USA). Results: 6 months
  after surgery, several values were statistically significant in the group with higher RTA. Also,
  patient compliance analysis (PCA) in relation to functional change perception appeared to be
  very good. Conclusions: The available set of GFs allowed biological retinal neuroenhancement.
  After 6 months it improved visual performance (VP), but the increase was better ifRTA
  recorded by OCT was higher, probably in relation to the presence of areas with greater
  cellularity.

  (3) Regenerative Therapy by Suprachoroidal Cell Autograft in Dry Age-related Macular
  Degeneration: Preliminary In Vivo Report.

  Limoli PG, Vingolo EM, Limoli C, Scalinci SZ, Nebbioso M.

  J Vis Exp. 2018 Feb 12;(132). doi: 103791/56469

  ABSTRACT: This study is aimed at examining whether a suprachoroidal graft of autologous
  cells can improve best corrected visual acuity (BCVA) and responses to microperimetry (MY) in
  eyes affected by dry Age-related Macular Degeneration (AMD) over time through the production
  and secretion of growth factors (GFs) on surrnunding tissue. Patients wer.e randomly assigned to
  each study group. All patients were diagnosed with dry AMD and with BCVA equal to or greater
  than 1 logarithm of the minimum angle of resolution (logMAR). A suprachoroidal autologous
  graft by Limoli Retinal Restoration Technique (LRRT) was carried out on group A, which
  included 11 eyes from 11 patients. The technique was performed by implanting adipocytes,
  adipose-derived stem cells obtained from the stromal vascular fraction, and platelets from
  platelet-rich plasma in the suprachoroidal space. Conversely, group B, including 14 eyes of 14
  patients, was used as a control group. For each patient, diagnosis was verified by confocal
  scanning laser ophthalmoscope and spectral domain-optical coherence tomography (SD-OCT).
  In group A, BCVA improved by 0.581 to 0.504 at 90 days and to 0.376 logMAR at 180 days
  (+32.20%) postoperatively. Furthermore, MY test increased by 11.44 dB to 12.59 dB at 180
  days. The different cell types grafted behind the choroid were able to ensure constant GF
  secretion in the choroidal flow. Consequently, the results indicate that visual acuity (VA) in the
  grafted group can increase more than in the control group after six months.


  (4) Stem Cell Therapies for Reversing Vision Loss.

  Higuchi A, Kumar SS, Benelli G, Alarfaj AA, Munusamy MA, Umezawa A, Murugan K.

  Trends Biotechnol. 2017 Nov;35(11):ll02-1117. doi: 10.1016/j.tibtech.201 7 .06.016. Epub 2017
  Jul 24


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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 50 of 52 Page ID #:475




  ABSTRACT: Current clinical trials that evaluate human pluripotent stem cell (hPSC)-based
  therapies predominantly target treating macular degeneration of the eyes because the eye is an
  isolated tissue that is naturally weakly immunogenic. Here, we discuss current bioengineering
  approaches and biomaterial usage in combination with stem cell therapy for macular
  degeneration disease treatment. Retinal pigment epithelium (RPE) differentiated from hPSCs is
  typically used in most clinical trials for treating patients, whereas bone marrow mononuclear
  cells (BMNCs) or mesenchymal stem cells (MSCs) are intravitreally transplanted,
  undifferentiated, into patient eyes. We also discuss reported negative effects of stem cell therapy,
  such as patients becoming blind following transplantation of adipose-derived stem cells, which
  are increasingly used by 'stem-cell clinics'.

  (5) Vision Loss after Intravitreal Injection ofAutologous "Stem Cells" for AMD.

  Kuriyan AE, Albini TA, Townsend JH, Rodriguez M, Pandya HK, Leonard RE, Parrott MB,
  Rosenfeld PJ, Flynn HW Jr., Goldberg JL.

  N Engl J Med. 2017 Mar 16;376(11):1047-1053. doi: 10.1056/NEJMoa1609583

  ABSTRACT: Adipose tissue-derived "stem cells" have been increasingly used by "stem-cell
  clinics" in the United States and elsewhere to treat a variety of disorders. We evaluated three
  patients in whom severe bilateral visual loss developed after they received intravitreal injections
  of autologous adipose tissue-derived "stem cells" at one such clinic in the United States. In these
  three patients, the last documented visual acuity on the Snellen eye chart before the injection
  ranged from 20/30 to 20/200. The patients' severe visual loss after the injection was associated
  with ocular hypertension, hemorrhagic retinopathy, vitreous hemorrhage, combined traction and
  retinal detachment, or lens dislocation. After 1 year, the patients' visual acuity ranged from
  20/200 to no light perception.

  (6) Bilateral Retinal Detachments After Intravitreal Injection ofAdipose-Derived "Stem
  Cells" in a Patient with Exudative Macular Degeneration.

  Saraf SS, Cunningham MA, Kuriyan AE, Read SP, Rosenfeld PJ, Flynn HW Jr, Albini TA.

  Ophthalmic Surg Lasers Imaging Retina. 2017 Sep 1;48(9):772-775. doi: 10.3928/23258160-
  20170829-16

  A 77-year-old woman with exudative macular degeneration underwent bilateral intravitreal
  injections of "stem cells" at a clinic in Georgia. One month and 3 months after injection, she
  developed retinal detachments in the left and right eyes, respectively. Increased awareness within
  the medical community of such poor outcomes is critical so that clinics offering untested
  practices that have been shown to be potentially harmful to patients can be identified and brought
  under U.S. Food and Drug Administration oversight.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 51 of 52 Page ID #:476




 (Chronic Obstructive Pulmonary Disease

  (1) Autologous Stromal Vascular Fraction in the Intravenous Treatment ofEnd-Stage·
  Chronic Obstructive Pulmonary Disease: A Phase I Trial ofSafety and Tolerability.

  Comella K, Blas JAP, Ichim T, Lopez J, Limon J, Moreno RC.

  J Clin Med Res. 2017 Aug;9(8):701-708. Epub 2017 Jul 1.

  ABSTRACT: Chronic obstructive pulmonary disease (COPD) is a consistently progressive,
  ultimately fatal disease for which no treatment exists capable of either reversing or even
  interrupting its course. It afflicts more than 5% of the population in many countries, and it
  accordingly represents the third most frequent cause of death in the US, where it accounts for
  more than 600 billion in health care costs, morbidity, and mortality. Adipose tissue contains
  within its stromal compartment a high abundance of adipose stem/stromal cells (ASCs), which
  can be readily separated from the adipocyte population by methods which require less than 2h of
  processing time and yield a concentrated cellular preparation termed the stromal vascular
  fraction (SVF). The SVF contains all cellular elements of fat, excluding adipocytes. Recent
  clinical studies have begun to explore the feasibility and safety of the local injection or
  intravascular delivery of SVF or more purified populations of ASCs derived by culture protocols.
  Several pre-clinical studies have demonstrated a remarkable ability of ASC to nearly fully
  ameliorate the progress of emphysema due to cigarette smoke exposure as well as other causes.
  However, no prior clinical studies have evaluated the safety of administration of either ASC or
  SVF in subjects with COPD. We hypothesized that harvest, isolation, and immediate intravenous
  infusion of autologous SVF would be feasible and safe in subjects with COPD; and that such an
  approach, if ultimately determined to be efficacious as well as safe, would provide a highly
  practical method for treatment of COPD. METHODS: In this study, an initial phase I trial
  evaluating the early and delayed safety of SVF infusion was performed. Twelve subjects were
  enrolled in the study, in which adipose tissue was harvested using standard liposuction
  techniques, followed by SVF isolation and intravenous infusion of 150 - 300 million cells.
  Standardized questionnaires were administered to study feasibility as well as immediate and
  delayed outcomes and adverse events as primary endpoints. Secondary endpoints included
  subjective wellness and attitudes towards the procedure, as well as willingness to undergo the
  procedure a second time. The follow-up time ranged from 3 to 12 months, averaging 12 months.
  RESULTS: Of the 12 subjects, only one experienced an immediate adverse event, related to
  bruising from the liposuction. No observed pulmonary or cardiac issues were observed as related
  to the procedure. There were no deaths over the 12-month study period, and none identified in
  the subsequent telephonic follow-up. Attitudes toward the procedure were predominantly
  positive, and 92% of the study subjects expressed a desire to undergo the pr ocedure a second
  time. CONCLUSIONS: This study is the first to demonstrate safety of SVF infusion in humans
  with serious pulmonary disease. Specifically, the use of intravenous infusion as a route to
  achieve pulmonary cellular targeting did not lead to clinical pulmonary compromise. The
  intravenous administration of SVF should be further explored as a potentially feasible and safe
  method for delivery leading to possible therapeutic benefit.




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Case 5:18-cv-01005-JGB-KK Document 52 Filed 07/08/19 Page 52 of 52 Page ID #:477




  COCHRANE [CLINICAL TRIALS],

  No additional completed trials have been identified. At the time of this search, there were some
  initial phase studies in various aforementioned conditions; these studies were either planned or
  recruiting as linked through clinicaltrials.gov.




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